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 5 Attorneys for Plaintiff Michael Zeleny
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 8
                             UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA
10
11 MICHAEL ZELENY,                           Case No. CV 17-7357 RS
12        Plaintiff,                         Assigned to:
                                             The Honorable Richard G. Seeborg
13                 vs.
                                             Discovery Matters:
14 GAVIN NEWSOM, et al.,                     The Honorable Thomas S. Hixson
15        Defendants.
                                             DECLARATION OF DAMION
16                                           ROBINSON IN SUPPORT OF
                                             PLAINTIFF MICHAEL ZELENY’S
17                                           MOTION FOR PARTIAL SUMMARY
                                             JUDGMENT AGAINST CALIFORNIA
18                                           ATTORNEY GENERAL XAVIER
                                             BECERRA
19
                                             Date:      February 25, 2021
20                                           Time:      1:30 p.m.
                                             Courtroom: 3, 17th Floor
21
22                                           Action Filed: December 28, 2017
                                             Trial Date:   TBD
23
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25
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                                             -1-
                 ROBINSON DECL. ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1          I, Damion Robinson, declare:

 2          1.     My law firm and I are counsel of record to plaintiff Michael Zeleny (“Zeleny”) in

 3 this matter. I have personal knowledge of the facts below or knowledge based on the records and
 4 files regularly maintained by my firm in the ordinary course of business. I could testify
 5 competently to these facts if called upon to do so.
 6          2.     On or about January 25, 2019, I served Plaintiff Michael Zeleny’s First Set of

 7 Interrogatories to Xavier Becerra (“Becerra”). Becerra responded on or about April 3, 2019. He
 8 declined to take a clear position on what the phrase “authorized participant” means under California
 9 Penal Code § 26375 and 26405(r).
10          3.     On or about February 12, 2020, I caused to be served Plaintiff Michael Zeleny’s

11 Interrogatories to Xavier Becerra, Set Two. Becerra responded on March 13, 2020. Again, he
12 failed to take a clear position on the “authorized participant” exception.
13          4.     On or about August 26, 2020, we filed a letter brief requesting further responses to

14 the interrogatories addressing the “authorized participant” provision. See Dkt. No. 135. After a
15 hearing, Magistrate Judge Hixson issued an order on September 4, 2020, directing Becerra to
16 respond further to the interrogatories. Dkt. No. 140.
17          5.     Becerra moved for relief from the September 4, 2020 order. The Court denied his

18 motion on October 5, 2020. Dkt. No. 148.
19          6.     Becerra provided amended responses to the interrogatories on October 6, 2020. The

20 responses still appeared to be deficient. I, thus, met and conferred with counsel for Becerra.
21          7.     Becerra provided Second Amended Responses to the interrogatories on October 23,

22 2020. The Second Amended Responses contain the original responses (April 3, 2019 and March
23 13, 2020), the Amended Responses (October 6), and the updated, Second Amended Responses
24 (October 23, 2020). For ease of reference, only the Second Amended Responses are attached.
25          8.     Attached as Exhibit 1 is a true copy of Becerra’s Second Amended Responses to

26 Plaintiff Michael Zeleny’s First Set of Interrogatories.
27          9.     Attached as Exhibit 2 is a true copy of Becerra’s Second Amended Responses to

28 Plaintiff Michael Zeleny’s Interrogatories, Set Two.
                                                     -2-
                  ROBINSON DECL. ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1          10.    Attached as Exhibit 3 is a true copy of the Expert Declaration of Michael Tristano.

 2          11.    Attached as Exhibit 4 is a true copy of the Expert Declaration of Robert Latham

 3 Brown.
 4          12.    Attached as Exhibit 5 is a true copy of excerpts of Volume II of the transcript of the

 5 deposition of Dave Bertini in this matter, testifying individually and as the Rule 30(b)(6) designee
 6 of the City of Menlo Park.
 7          13.    Attached as Exhibit 6 is a true copy of excerpts of the deposition of Blake Graham

 8 taken in this matter, testifying as the Rule 30(b)(6) designee of the State of California.
 9          14.    Exhibits 1 through 7 to the accompanying Request for Judicial Notice are documents

10 that I located through online research. I obtained the legislative history materials attached as
11 Exhibits 1 through 6 from the Westlaw online research platform. I obtained the State Auditor’s
12 report, attached as Exhibit 7, from the State Auditor’s website, www.auditor.ca.gov.
13          I declare under penalty of perjury under the laws of the United States that the foregoing is

14 true and correct. Executed January 21, 2021 at Los Angeles, California
15                                                s/ Damion Robinson
                                                  Damion Robinson
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                                                      -3-
                  ROBINSON DECL. ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
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              Exhibit 1
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     Attorneys for Defendant Attorney General Xavier
 8   Becerra

 9
                                IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
12

13

14   MICHAEL ZELENY, an individual,                             3:17-cv-07357 RS (NC)

15                                          Plaintiff, DEFENDANT ATTORNEY GENERAL
                                                       XAVIER BECERRA’S SECOND
16                  v.                                 AMENDED RESPONSES TO
                                                       PLAINTIFF MICHAEL ZELENY’S
17                                                     FIRST SET OF INTERROGATORIES
     GAVIN NEWSOM, an individual, in his
18   official capacity; XAVIER BECERRA, an
     individual, in his official capacity; CITY OF
19   MENLO PARK, a municipal corporation;
     and DAVE BERTINI, in his official
20   capacity,

21                                           Defendants.

22

23         PROPOUNDING PARTY:                       Plaintiff Michael Zeleny

24         ANSWERING PARTY:                         Defendant Attorney General Xavier Becerra

25         SET NUMBER:                              One

26   ///

27   ///

28   ///
                                                            1
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1                                      PRELIMINARY STATEMENT

 2         For purposes of these interrogatories, Plaintiff Zeleny has used the terms “YOU” and

 3   “YOUR” to, “refer to Xavier Becerra as the Attorney General of the State of California. These

 4   interrogatories seek the official position of the State of California.” (Plaintiff Zeleny’s

 5   Interrogatories, p. 2, lines 22-24.) Defendant Becerra objects to Plaintiff Zeleny’s definition of

 6   “YOU” and “YOUR” as encompassing the official position of the State of California. The phrase

 7   “the official position of the State of California” is vague and overbroad. The State of California

 8   is made up of the Executive, Legislative, and Judicial branches of government, which are separate

 9   and co-equal. California’s Executive branch includes a number of elected officials including, but

10   not limited to the Attorney General of California. Moreover, the State of California is not a

11   defendant in this action—nor would it be an appropriate defendant in this action. As a general

12   matter, the proper respondent or defendant in a challenge to a state law or policy is the officer or

13   agency charged with implementing it. See Serrano v. Priest, 18 Cal.3d 728, 752 (1976); State v.

14   Superior Court, 12 Cal.3d 237, 255 (1974).

15         Defendant Becerra objects to each interrogatory to the extent that it purports to impose any

16   obligation or requirement greater than or different to the obligations or requirements set forth in

17   the Federal Rules of Civil Procedure and/or the applicable rules and orders of this Court.

18         Defendant Becerra objects to each interrogatory to the extent that it calls for the disclosure

19   of information protected from disclosure by the attorney work-product doctrine, the attorney-

20   client privilege, the deliberative process privilege and/or any other applicable privilege or

21   protection. Should Defendant Becerra disclose any privileged or otherwise protected information

22   in these responses, the disclosure is inadvertent and does not constitute a waiver of the privilege

23   or protection.

24         Defendant Becerra has not completed the investigation of the facts and issues relating to

25   Plaintiff Zeleny’s claims and has not completed discovery in this action. All of the answers

26   contained herein are based solely upon information and documents which are presently available

27   to, and specifically known by, Defendant Becerra, and the answers disclose only those

28   contentions which presently occur to Defendant Becerra. Further discovery, independent
                                                            2
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   investigation, legal research and analysis may supply additional facts and may lead to additions,

 2   changes, and variations from the answers herein.

 3         The following answers are given without prejudice to the right to produce evidence and/or

 4   witnesses or rely on facts which Defendant Becerra may later discover. Defendant Becerra

 5   accordingly reserves the right to change any and all answers herein as additional facts are

 6   ascertained, witnesses identified and legal research is completed. The answers contained herein

 7   are made in good faith in an attempt to supply as much factual information and as much

 8   specification of legal contention as is presently known, and in no way prejudices Defendant

 9   Becerra in relation to further discovery and proceedings.

10         Defendant Becerra incorporates by reference every general objection set forth above into

11   each specific answer set forth below. A specific response may repeat a general objection for

12   emphasis or some other reason. The failure to include a general objection in any specific answer

13   does not waive any general objection to that interrogatory.

14         INTERROGATORY NO. 1: State all facts on which You base Your contention, if any,

15   that California Penal Code § 26350 is constitutional under the Second Amendment, including any

16   legitimate goals or public interests intended to be served by that statute.

17         [As used in these interrogatories,

18         (a) “You” and “Your” refer to Xavier Becerra as the Attorney General of the State of

19   California. These interrogatories seek the official position of the State of California;

20         (b) “Second Amendment” means the Second Amendment to the United States

21   Constitution].

22         RESPONSE TO INTERROGATORY NO. 1:

23         Defendant Becerra incorporates by reference the above-stated general objections as though

24   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

25   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

26   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

27   that is relevant to Plaintiff’s claims. Defendant Becerra also objects to this interrogatory on the

28   grounds that it seeks Defendant Becerra’s contentions regarding the constitutionality of California
                                                            3
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 8 of 100



 1   Penal Code § 26350, and thus poses a question of pure law. Defendant Becerra is not required to

 2   respond to interrogatories raising questions of pure law. See AngioScore, Inc. v. TriReme Med.,

 3   Inc., No. 12-cv-03393-YGR (JSC), 2014 WL 7188779, at *5 (N.D. Cal. Dec. 16, 2014)

 4   (“[I]nterrogatories directed to issues of ‘pure law’—i.e., abstract legal issues not dependent on the

 5   facts of the case are not permitted”) (citation and some internal punctuation omitted). A party

 6   responding to interrogatories “is not required to write his[, her, or its] brief on a motion for

 7   summary judgment in his[, her, or its] responses to interrogatories.” Larson v. Trans Union, LLC,

 8   No. 3:12-CV-05726-WHO, 2017 WL 1540710, at *1 (N.D. Cal. April 28, 2017) (citation and

 9   some internal punctuation omitted).

10          Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

11   follows: California Penal Code § 26350 is constitutional under the Second Amendment.

12          In District of Columbia v. Heller, 554 U.S. 570 (2008), the United States Supreme Court

13   recognized that the Second Amendment protects an individual right to keep and bear arms. 554

14   U.S. at 636. The Heller Court did not, however, “undertake an exhaustive historical analysis . . .

15   of the full scope of the Second Amendment” or attempt to “clarify the entire field.” Id. at 626,

16   635.

17          First, Heller explains that “the most natural reading of ‘keep Arms’” is “to ‘have

18   weapons,’” 554 U.S. at 582, and that “bear arms” is most naturally read to mean “‘wear, bear, or

19   carry upon the person or in clothing or in a pocket, for the purpose of being armed and ready for

20   offensive or defensive action in a case of conflict with another person,’” id. at 584 (ellipses

21   omitted).

22          Second, the right to bear arms must be construed and applied with careful attention to its

23   “historical background.” Heller, 554 U.S. at 592; see id. At 576-626. This is critical “because it

24   has always been widely understood that the Second Amendment, like the First and Fourth

25   Amendments, codified a pre-existing right,” and “declares only that is ‘shall not be infringed.’”

26   Id., at 592. Thus, while the Second Amendment’s inclusion in the Bill of Rights indicates that the

27   right to bear arms ranks as fundamental, nothing about its enumeration in the Constitution

28
                                                            4
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   changed the right into anything more comprehensive or absolute than would have been

 2   understood and expected by “ordinary citizens in the founding generation.” Id. at 577.

 3         Third, that commonly understood right was and is “not unlimited.” Heller, 554 U.S. at 595,

 4   626. It is not a right “to keep and carry any weapon whatsoever in any manner whatsoever and

 5   for whatever purpose,” id. at 626, or “to carry arms for any sort of confrontation,” id. at 595. The

 6   core individual right recognized by Heller is the right to keep and bear arms “in defense of hearth

 7   and home.” 554 U.S. at 635; see also McDonald v. City of Chicago, 561 U.S. 742, 780 (2010)

 8   (plurality op.) (Heller’s “central holding” was that “the Second Amendment protects a personal

 9   right to keep and bear arms for lawful purposes, most notably for self-defense within the home.”).

10   That does not mean that the right to “bear” has no scope or application beyond the home or its

11   immediate environs. But nothing in Heller suggests that it applies in exactly the same in all

12   places, so that a restriction on bearing arms in public must be treated just like a restriction on

13   bearing in or around the home. In particular, nothing in Heller dictates that, as Plaintiff Zeleny

14   seems to contend, that the Second Amendment embodies an individual right to openly carry a gun

15   in almost any public place.

16         On the contrary, Heller makes clear that Second Amendment rights are subject to many

17   reasonable regulations. See 554 U.S. at 636. Indeed, the Second Amendment “by no means

18   eliminates” States’ “ability to devise solutions to social problems that suit local needs and

19   values.” McDonald, 561 U.S. at 785.

20         Heller does not recognize any unfettered right to carry firearms in the crowded urban areas,

21   based solely on an individual’s stated desire to be “‘armed and ready for offensive or defensive

22   action in case of conflict with another person,’” 554 U.S. at 584. Rather, under Heller, Plaintiff

23   Zeleny’s challenge to Penal Code § 26350 must be evaluated, in the first instance, by examining

24   “the historical understanding of the scope of that right.” Id. at 625. The challenge cannot succeed

25   if the State’s restrictions are a type of reasonable public regulation that has long been considered

26   consistent with a private right to bear arms. Cf. id. at 626-627.

27         “No fundamental right—not even the First Amendment—is absolute.” McDonald, 561

28   U.S. at 802 (Scalia, J., concurring). Just as the First Amendment does not confer a right to speak
                                                            5
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   in any time, place or manner, history and precedent teach that the Second Amendment does not

 2   confer the right to carry guns anywhere or at any time. See Heller, 554 U.S. at 595. California’s

 3   laws regulating the public carrying of firearms strike a permissible balance between preserving

 4   order and public safety and accommodating the desire of some residents to carry guns. There are

 5   consistent with traditional restrictions on public carry, and are presumptively lawful on that basis.

 6         Where text, history, and tradition show that a challenged law is consistent with the Second

 7   Amendment, the restriction “‘passes constitutional muster’” and the court’s inquiry “‘is

 8   complete.’” Teixeira v. Cty. of Alameda, 873 F.3d 670, 682 (9th Cir. 2017) (en banc); see Heller,

 9   554 U.S. at 626, 627 n.26.

10         California broadly allows the carrying of firearms in places and circumstances where it has

11   traditionally been common: in or immediately around an individual’s home or place of business

12   and on much other private property with permission; in less-populated areas and during activities

13   such as hunting; and in circumstances of immediate and grave danger to person or property when

14   law enforcement is not available. It also allows qualified individuals to obtain licenses to carry

15   more generally, if they can establish “good cause” under standards set by local officials who are

16   most familiar with the needs and desires of their own communities.

17         However, there is an “historical prevalence” of public carry restrictions similar to Penal

18   Code § 26350. Kachalsky v. Cty of Westchester, 701 F.3d 81, 96 (2nd Cir. 2012). Because

19   “[f]irearms have always been more heavily regulated in the public sphere,” the right to bear arms

20   “most certainly operates in a different manner” in that context than when evaluating restrictions

21   that impinge directly on the core right to keep and carry guns in the home. Drake v. Filko, 724

22   F.3d 426, 430 n.5. (3rd Cir. 2013).

23         This makes good functional sense. When individuals move outside their homes—and

24   particularly when they move about in populated areas —their interest in carrying a firearm is

25   much more likely to come into conflict with the public interest in order and safety. See, e.g.,

26   Gould v. Morgan, 907 F.3d 659, 672, (1st Cir. 2018). The “inherent” risk that firearms present

27   when carried in public “distinguishes the Second Amendment right from other fundamental rights

28   . . . such as the right to marry and the right to be free from viewpoint discrimination, which can be
                                                            6
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   exercised without creating a direct risk to others. Bonidy v. U.S. Postal Serv., 790 F.3d 1121,

 2   1126 (10th Cir. 2015). And as the Fourth Circuit observed, it “is not far-fetched to think” that

 3   Heller’s focus on the “core” right to protect the home was born out of a recognition that the

 4   danger of “tragic act[s]” of violence “would rise exponentially as one moved the right from the

 5   home to the public square.” United States v. Masciandaro, 638 F.3d 458, 475-476 (4th Cir. 2011)

 6   (Wilkinson, J.).

 7         There is a legitimate role for public regulation touching on even our most fundamental

 8   rights—especially when there is or can be genuine tension between the exercise of individual

 9   rights and the safety of members of the public and law enforcement officers.

10         When, as here, a court will review a challenged statute under intermediate scrutiny, courts

11   ask whether the law promotes a “significant, substantial, or important government objective,” and

12   whether there is a “‘reasonable fit’ between the challenged law and the asserted objective.” Peña

13   v. Lindley, 898 F.3d 969, 979 (9th Cir. 2018). While the State must show that the law “promotes

14   a substantial government interest that would be achieved less effectively absent the regulation,” it

15   need not demonstrate that the regulation is the “least restrictive means of achieving the

16   government interest.” Id. (citations and quotation marks omitted). A court’s only obligation is to

17   “assure that, in formulating its judgments, [the State] has drawn reasonable inferences based on

18   substantial evidence,’” an inquiry that must accord “‘substantial deference to the predictive

19   judgments’” of the legislature. Id. at 979-980 (quoting Turner Broad. Sys., Inc. v. FCC, 520 U.S.

20   180, 195 (1997)).

21         The need for appropriate deference to legislative predications is especially clear in the

22   Second Amendment context. “Providing for the safety of citizens within their borders has long

23   been state government’s most basic task.” Kolbe v. Hogan, 849 F.3d 114, 150 (4th Cir. 2017)

24   (Wilkinson, J., concurring). State legislatures are “‘far better equipped than the judiciary’ to

25   make sensitive public policy judgments (within constitutional limits) concerning the dangers in

26   carrying firearms and the manner to combat those risks.” Kachalsky, 701 F.3d at 97. And, while

27   a legislature’s judgments can be based on empirical evidence, they need not be; “history,

28   consensus, and ‘simple common sense’” will suffice. Florida Bar v. Went for It, Inc., 515 U.S.
                                                            7
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   618, 628 (1995). Indeed, when it comes to dealing with a complex societal problem like gun

 2   violence, there will almost always be room for reasonable minds to differ about the optimal

 3   solution; demanding undue certainly would be foolhardy.

 4         Here, California has a compelling interest in protecting public safety and reducing gun

 5   violence. Jackson v. City & County of San Francisco, 746 F.3d 953, 965 (9th Cir. 2014). An

 6   increase in guns carried by private persons in public places increases the risk that “‘basic

 7   confrontations between individuals [will] turn deadly.’” Wollard v. Gallagher, 712 F.3d 865, 879

 8   (4th Cir. 2013). Similarly, misfired shots or accidental discharges are “more likely to hit a

 9   bystander where there are more bystanders to hit.” Blocher, Firearm Localism, 123 Yale L.J. 82,

10   122-123 (2013). The Legislature could also conclude that widespread public carry increases the

11   “availability of handguns to criminals via theft,” Woollard, 712 F.3d at 879, and that such guns

12   would then be used to “commit violent crimes” or be transferred to “others who commit crimes,”

13   U.S. Dep’t of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives, 2012 Summary:

14   Firearms Reported Lost and Stolen 2 (2013).

15         According to the legislative history of California Penal Code § 26350, the absence of a

16   prohibition on openly carrying unloaded firearms has created a surge in individuals openly

17   carrying unloaded firearms in public. These incidents adversely affect public safety in several

18   ways. Members of the public who encounter individuals openly carrying firearms are alarmed

19   and fearful for their safety and the safety of others. When members of the public report such

20   incidents to local law enforcement, they are only able to provide law enforcement personnel with

21   incomplete information. As a result, law enforcement agencies respond to such incidents with

22   limited information regarding whether the individual openly carrying the firearm is a danger to

23   himself or herself; a danger to the public; or a danger to the responding law enforcement

24   personnel.

25         In such situations, a wrong move by the individual carrying the firearm could be construed

26   as threatening by the responding law enforcement officer. The officer may feel compelled to

27   respond in a manner that could result in injury or death. Thus, the practice of openly carrying

28   unloaded firearms can create an unsafe environment for everyone involved: the individual
                                                            8
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 13 of 100



 1   carrying the firearm, the responding law enforcement personnel, and all other individuals who

 2   may be nearby.

 3         In addition, responding to incidents involving individuals openly carrying unloaded

 4   firearms taxes the resources of law enforcement agencies already stretched by under-staffing and

 5   budget cutbacks. Such a diversion of resources adversely affects law enforcement agencies’

 6   ability to provide other public safety services to their communities. See e.g., Woollard, 712 F.3d

 7   at 879-880 (recounting similar policing benefits).

 8         In light of the public safety risks the Legislature could reasonably deem to be associated

 9   with public carrying of firearms, there is a “‘reasonable fit’” between California’s calibrated

10   regime governing public carry and the important interests that it serves. Peña, 898 F.3d at. 979.

11         INTERROGATORY NO. 2: Identify all documents bearing upon, supporting, or

12   reflecting the facts set forth in Your response to the preceding interrogatory.

13         RESPONSE TO INTERROGATORY NO. 2:

14         Defendant Becerra incorporates by reference the above-stated general objections as though

15   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

16   vague, overbroad, and/or unduly burdensome. Moreover, it seeks information irrelevant to

17   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

18   that is relevant to Plaintiff’s claims.

19         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

20   follows: See DOJ 000127-DOJ000411; DOJ 000001-DOJ 000126; DOJ 001227-DOJ 001281.

21         INTERROGATORY NO. 3: State all facts on which You base Your contention, if any,

22   that California Penal Code § 26400 is constitutional under the Second Amendment, including any

23   legitimate goals or public interests intended to be served by the statute.

24         RESPONSE TO INTERROGATORY NO. 3:

25         Defendant Becerra incorporates by reference the above-stated general objections as though

26   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

27   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

28   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information
                                                            9
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 14 of 100



 1   that is relevant to Plaintiff’s claims. Defendant Becerra also objects to this interrogatory on the

 2   grounds that it seeks Defendant Becerra’s contentions regarding the constitutionality of California

 3   Penal Code § 26400, and thus poses a question of pure law. Defendant Becerra is not required to

 4   respond to interrogatories raising questions of pure law. See AngioScore, Inc. v. TriReme Med.,

 5   Inc., No. 12-cv-03393-YGR (JSC), 2014 WL 7188779, at *5 (N.D. Cal. Dec. 16, 2014)

 6   (“[I]nterrogatories directed to issues of ‘pure law’—i.e., abstract legal issues not dependent on the

 7   facts of the case are not permitted”) (citation and some internal punctuation omitted). A party

 8   responding to interrogatories “is not required to write his[, her, or its] brief on a motion for

 9   summary judgment in his[, her, or its] responses to interrogatories.” Larson v. Trans Union, LLC,

10   No. 3:12-CV-05726-WHO, 2017 WL 1540710, at *1 (N.D. Cal. April 28, 2017) (citation and

11   some internal punctuation omitted).

12         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

13   follows: California Penal Code § 26400 is constitutional under the Second Amendment.

14         In Heller, the Supreme Court recognized that the Second Amendment protects an individual

15   right to keep and bear arms. 554 U.S. at 636. The Heller Court did not, however, “undertake an

16   exhaustive historical analysis . . . of the full scope of the Second Amendment” or attempt to

17   “clarify the entire field.” Id. at 626, 635.

18         First, Heller explains that “the most natural reading of ‘keep Arms’” is “to ‘have

19   weapons,’” 554 U.S. at 582, and that “bear arms” is most naturally read to mean “‘wear, bear, or

20   carry upon the person or in clothing or in a pocket, for the purpose of being armed and ready for

21   offensive or defensive action in a case of conflict with another person,’” id. at 584 (ellipses

22   omitted).

23         Second, the right to bear arms must be construed and applied with careful attention to its

24   “historical background.” Heller, 554 U.S. at 592; see id. At 576-626. This is critical “because it

25   has always been widely understood that the Second Amendment, like the First and Fourth

26   Amendments, codified a pre-existing right,” and “declares only that is ‘shall not be infringed.’”

27   Id., at 592. Thus, while the Second Amendment’s inclusion in the Bill of Rights indicates that the

28   right to bear arms ranks as fundamental, nothing about its enumeration in the Constitution
                                                           10
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 1   changed the right into anything more comprehensive or absolute than would have been

 2   understood and expected by “ordinary citizens in the founding generation.” Id. at 577.

 3         Third, that commonly understood right was and is “not unlimited.” Heller, 554 U.S. at 595,

 4   626. It is not a right “to keep and carry any weapon whatsoever in any manner whatsoever and

 5   for whatever purpose,” id. at 626, or “to carry arms for any sort of confrontation,” id. at 595. The

 6   core individual right recognized by Heller is the right to keep and bear arms “in defense of hearth

 7   and home.” 554 U.S. at 635; see also McDonald v. City of Chicago, 561 U.S. 742, 780 (2010)

 8   (plurality op.) (Heller’s “central holding” was that “the Second Amendment protects a personal

 9   right to keep and bear arms for lawful purposes, most notably for self-defense within the home.”).

10   That does not mean that the right to “bear” has no scope or application beyond the home or its

11   immediate environs. But nothing in Heller suggests that it applies in exactly the same in all

12   places, so that a restriction on bearing arms in public must be treated just like a restriction on

13   bearing in or around the home. In particular, nothing in Heller dictates that, as Plaintiff Zeleny

14   seems to contend, that the Second Amendment embodies an individual right to openly carry a gun

15   in almost any public place.

16         On the contrary, Heller makes clear that Second Amendment rights are subject to many

17   reasonable regulations. See 554 U.S. at 636. Indeed, the Second Amendment “by no means

18   eliminates” States’ “ability to devise solutions to social problems that suit local needs and

19   values.” McDonald, 561 U.S. at 785.

20         Heller does not recognize any unfettered right to carry firearms in the crowded urban areas,

21   based solely on an individual’s stated desire to be “‘armed and ready for offensive or defensive

22   action in case of conflict with another person,’” 554 U.S. at 584. Rather, under Heller, Plaintiff

23   Zeleny’s challenge to Penal Code § 26350 must be evaluated, in the first instance, by examining

24   “the historical understanding of the scope of that right.” Id. at 625. The challenge cannot succeed

25   if the State’s restrictions are a type of reasonable public regulation that has long been considered

26   consistent with a private right to bear arms. Cf. id. at 626-627.

27         “No fundamental right—not even the First Amendment—is absolute.” McDonald, 561

28   U.S. at 802 (Scalia, J., concurring). Just as the First Amendment does not confer a right to speak
                                                           11
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   in any time, place or manner, history and precedent teach that the Second Amendment does not

 2   confer the right to carry guns anywhere or at any time. See Heller, 554 U.S. at 595. California’s

 3   laws regulating the public carrying of firearms strike a permissible balance between preserving

 4   order and public safety and accommodating the desire of some residents to carry guns. There are

 5   consistent with traditional restrictions on public carry, and are presumptively lawful on that basis.

 6         Where text, history, and tradition show that a challenged law is consistent with the Second

 7   Amendment, the restriction “‘passes constitutional muster’” and the court’s inquiry “‘is

 8   complete.’” Teixeira, 873 F.3d at 682; see Heller, 554 U.S. at 626, 627 n.26.

 9         California broadly allows the carrying of firearms in places and circumstances where it has

10   traditionally been common: in or immediately around an individual’s home or place of business

11   and on much other private property with permission; in less-populated areas and during activities

12   such as hunting; and in circumstances of immediate and grave danger to person or property when

13   law enforcement is not available. It also allows qualified individuals to obtain licenses to carry

14   more generally, if they can establish “good cause” under standards set by local officials who are

15   most familiar with the needs and desires of their own communities.

16         However, there is an “historical prevalence” of public carry restrictions similar to Penal

17   Code § 26400. Kachalsky, 701 F.3d at 96. Because “[f]irearms have always been more heavily

18   regulated in the public sphere,” the right to bear arms “most certainly operates in a different

19   manner” in that context than when evaluating restrictions that impinge directly on the core right

20   to keep and carry guns in the home. Drake, 724 F.3d at 430 n.5.

21         This makes good functional sense. When individuals move outside their homes—and

22   particularly when they move about in populated areas —their interest in carrying a firearm is

23   much more likely to come into conflict with the public interest in order and safety. See, e.g.,

24   Gould v. Morgan, 907 F.3d 659, 672, (1st Cir. 2018). The “inherent” risk that firearms present

25   when carried in public “distinguishes the Second Amendment right from other fundamental rights

26   . . . such as the right to marry and the right to be free from viewpoint discrimination, which can be

27   exercised without creating a direct risk to others. Bonidy, 790 F.3d at 1126. And as the Fourth

28   Circuit observed, it “is not far-fetched to think” that Heller’s focus on the “core” right to protect
                                                           12
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   the home was born out of a recognition that the danger of “tragic act[s]” of violence “would rise

 2   exponentially as one moved the right from the home to the public square.” Masciandaro, 638

 3   F.3d at 475-476.

 4           There is a legitimate role for public regulation touching on even our most fundamental

 5   rights—especially when there is or can be genuine tension between the exercise of individual

 6   rights and the safety of members of the public and law enforcement officers.

 7           When, as here, a court will review a challenged statute under intermediate scrutiny, courts

 8   ask whether the law promotes a “significant, substantial, or important government objective,” and

 9   whether there is a “‘reasonable fit’ between the challenged law and the asserted objective.” Peña,

10   898 F.3d at 979. While the State must show that the law “promotes a substantial government

11   interest that would be achieved less effectively absent the regulation,” it need not demonstrate

12   that the regulation is the “least restrictive means of achieving the government interest.” Id.

13   (citations and quotation marks omitted). A court’s only obligation is to “assure that, in

14   formulating its judgments, [the State] has drawn reasonable inferences based on substantial

15   evidence,’” an inquiry that must accord “‘substantial deference to the predictive judgments’” of

16   the legislature. Id. at 979-980 (quoting Turner Broad. Sys., Inc. v. FCC, 520 U.S. 180, 195

17   (1997)).

18           The need for appropriate deference to legislative predications is especially clear in the

19   Second Amendment context. “Providing for the safety of citizens within their borders has long

20   been state government’s most basic task.” Kolbe, 849 F.3d at 150. State legislatures are “‘far

21   better equipped than the judiciary’ to make sensitive public policy judgments (within

22   constitutional limits) concerning the dangers in carrying firearms and the manner to combat those

23   risks.” Kachalsky, 701 F.3d at 97. And, while a legislature’s judgments can be based on

24   empirical evidence, they need not be; “history, consensus, and ‘simple common sense’” will

25   suffice. Went for It, Inc., 515 U.S. at 628. Indeed, when it comes to dealing with a complex

26   societal problem like gun violence, there will almost always be room for reasonable minds to

27   differ about the optimal solution; demanding undue certainly would be foolhardy.

28   / / /
                                                           13
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1         California has a compelling interest in protecting public safety and reducing gun violence.

 2   Jackson, 746 F.3d at 965. An increase in guns carried by private persons in public places

 3   increases the risk that “‘basic confrontations between individuals [will] turn deadly.’” Wollard,

 4   712 F.3d at 879. Similarly, misfired shots or accidental discharges are “more likely to hit a

 5   bystander where there are more bystanders to hit.” Blocher, Firearm Localism, 123 Yale L.J. 82,

 6   122-123 (2013). The Legislature could also conclude that widespread public carry increases the

 7   “availability of handguns to criminals via theft,” Woollard, 712 F.3d at 879, and that such guns

 8   would then be used to “commit violent crimes” or be transferred to “others who commit crimes,”

 9   U.S. Dep’t of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives, 2012 Summary:

10   Firearms Reported Lost and Stolen 2 (2013).

11         The absence of a prohibition on openly carrying unloaded firearms has created a surge in

12   individuals openly carrying unloaded firearms in public. These incidents adversely affect public

13   safety in several ways. Members of the public who encounter individuals openly carrying

14   firearms are alarmed and fearful for their safety and the safety of others. When members of the

15   public report such incidents to local law enforcement, they are only able to provide law

16   enforcement personnel with incomplete information. As a result, law enforcement agencies

17   respond to such incidents with limited information regarding whether the individual openly

18   carrying the firearm is a danger to himself or herself; a danger to the public; or a danger to the

19   responding law enforcement personnel.

20         In such situations, a wrong move by the individual carrying the firearm could be construed

21   as threatening by the responding law enforcement officer. The officer may feel compelled to

22   respond in a manner that could result in injury or death. Thus, the practice of openly carrying

23   unloaded firearms can create an unsafe environment for everyone involved: the individual

24   carrying the firearm, the responding law enforcement personnel, and all other individuals who

25   may be nearby.

26         In addition, responding to incidents involving individuals openly carrying unloaded

27   firearms taxes the resources of law enforcement agencies already stretched by under-staffing and

28   budget cutbacks. Such a diversion of resources adversely affects law enforcement agencies’
                                                           14
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   ability to provide other public safety services to their communities. See e.g., Woollard, 712 F.3d

 2   at 879-880 (recounting similar policing benefits).

 3         According to the legislative history of California Penal Code§ 26400, one of the purposes

 4   of the bill (A.B. 1527) was to follow up A.B. 144 (Statutes of 2011), which made public open

 5   carry of handguns a misdemeanor, by expanding the prohibition to long-guns in incorporated

 6   cities. “The absence of a prohibition on ‘open carry’ of long guns has created an increase in

 7   problematic instances of these guns carried in public, alarming unsuspecting individuals causing

 8   issues for law enforcement. Open carry creates a potentially dangerous situation. In most cases

 9   when a person is openly carrying a firearm, law enforcement is called to the scene with few

10   details other than one or more people are present at a location and are armed.” (See DOJ 001050)

11   “In these tense situations, the slightest wrong move by the gun-carrier could be construed as

12   threatening by the responding officer, who may feel compelled to respond in a manner that could

13   be lethal. In this situation the practice of ‘open carry’ creates an unsafe environment for all

14   parties involved; the officer, the gun-carrying individual, and for any other individuals nearby as

15   well.” (See DOJ 001050)

16         “Additionally, the increase in ‘open-carry’ calls placed to law enforcement has taxed

17   departments dealing with under-staffing and cutbacks due to the current fiscal climate in

18   California, preventing them from protecting the public in other ways.” (See DOJ 001051)

19         In light of the public safety risks the Legislature could reasonably deem to be associated

20   with public carrying of firearms, there is a “‘reasonable fit’” between California’s calibrated

21   regime governing public carry and the important interests that it serves. Peña, 898 F.3d at. 979.

22         INTERROGATORY NO. 4: Identify all documents bearing upon, supporting, or

23   reflecting the facts set forth in Your response to the preceding interrogatory.

24         RESPONSE TO INTERROGATORY NO. 4:

25         Defendant Becerra incorporates by reference the above-stated general objections as though

26   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

27   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

28
                                                           15
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

 2   that is relevant to Plaintiff’s claims.

 3         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 4   follows: See DOJ 000127-DOJ 000411; DOJ 000412-DOJ 000529; DOJ 000927-DOJ 001226;

 5   DOJ 001227-DOJ 001281.

 6         INTERROGATORY NO. 5: State all reasons for the adoption of California Penal Code

 7   §§ 26375 and 26405(r), including, but not limited to any legitimate goals or public interests

 8   intended to be served by the exemptions contained therein.

 9         RESPONSE TO INTERROGATORY NO. 5:

10         Defendant Becerra incorporates by reference the above-stated general objections as though

11   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

12   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

13   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

14   that is relevant to Plaintiff’s claims. Defendant Becerra also objects to this interrogatory on the

15   grounds that it seeks Defendant Becerra’s contentions regarding the constitutionality of California

16   Penal Code §§ 26375 and 26405(r), and thus poses questions of pure law. Defendant Becerra is

17   not required to respond to interrogatories raising questions of pure law. See AngioScore, Inc. v.

18   TriReme Med., Inc., No. 12-cv-03393-YGR (JSC), 2014 WL 7188779, at *5 (N.D. Cal. Dec. 16,

19   2014) (“[I]nterrogatories directed to issues of ‘pure law’—i.e., abstract legal issues not dependent

20   on the facts of the case are not permitted”) (citation and some internal punctuation omitted). A

21   party responding to interrogatories “is not required to write his[, her, or its] brief on a motion for

22   summary judgment in his[, her, or its] responses to interrogatories.” Larson v. Trans Union, LLC,

23   No. 3:12-CV-05726-WHO, 2017 WL 1540710, at *1 (N.D. Cal. April 28, 2017) (citation and

24   some internal punctuation omitted).

25         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

26   follows: The Heller Court recognized that the Second Amendment protects an individual right to

27   keep and bear arms. 554 U.S. at 636. The Court did not, however, “undertake an exhaustive

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                                                           16
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   historical analysis . . . of the full scope of the Second Amendment” or attempt to “clarify the

 2   entire field.” Id. at 626, 635.

 3         First, Heller explains that “the most natural reading of ‘keep Arms’” is “to ‘have

 4   weapons,’” 554 U.S. at 582, and that “bear arms” is most naturally read to mean “‘wear, bear, or

 5   carry upon the person or in clothing or in a pocket, for the purpose of being armed and ready for

 6   offensive or defensive action in a case of conflict with another person,’” id. at 584 (ellipses

 7   omitted).

 8         Second, the right to bear arms must be construed and applied with careful attention to its

 9   “historical background.” Heller, 554 U.S. at 592; see id. At 576-626. This is critical “because it

10   has always been widely understood that the Second Amendment, like the First and Fourth

11   Amendments, codified a pre-existing right,” and “declares only that is ‘shall not be infringed.’”

12   Id., at 592. Thus, while the Second Amendment’s inclusion in the Bill of Rights indicates that the

13   right to bear arms ranks as fundamental, nothing about its enumeration in the Constitution

14   changed the right into anything more comprehensive or absolute than would have been

15   understood and expected by “ordinary citizens in the founding generation.” Id. at 577.

16         Third, that commonly understood right was and is “not unlimited.” Heller, 554 U.S. at 595,

17   626. It is not a right “to keep and carry any weapon whatsoever in any manner whatsoever and

18   for whatever purpose,” id. at 626, or “to carry arms for any sort of confrontation,” id. at 595. The

19   core individual right recognized by Heller is the right to keep and bear arms “in defense of hearth

20   and home.” 554 U.S. at 635; see also McDonald, 561 U.S. at 780 (Heller’s “central holding” was

21   that “the Second Amendment protects a personal right to keep and bear arms for lawful purposes,

22   most notably for self-defense within the home.”). That does not mean that the right to “bear” has

23   no scope or application beyond the home or its immediate environs. But nothing in Heller

24   suggests that it applies in exactly the same in all places, so that a restriction on bearing arms in

25   public must be treated just like a restriction on bearing in or around the home.

26         On the contrary, Heller makes clear that Second Amendment rights are subject to many

27   reasonable regulations. See 554 U.S. at 636. Indeed, the Second Amendment “by no means

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       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   eliminates” States’ “ability to devise solutions to social problems that suit local needs and

 2   values.” McDonald, 561 U.S. at 785.

 3         Heller does not recognize any unfettered right to carry firearms in the crowded urban areas,

 4   based solely on an individual’s stated desire to be “‘armed and ready for offensive or defensive

 5   action in case of conflict with another person,’” 554 U.S. at 584. Rather, under Heller, a

 6   challenge to Penal Code § 26350 must be evaluated, in the first instance, by examining “the

 7   historical understanding of the scope of that right.” Id. at 625. The challenge cannot succeed if

 8   the State’s restrictions are a type of reasonable public regulation that has long been considered

 9   consistent with a private right to bear arms. Cf. id. at 626-627.

10         “No fundamental right—not even the First Amendment—is absolute.” McDonald, 561

11   U.S. at 802 (Scalia, J., concurring). Just as the First Amendment does not confer a right to speak

12   in any time, place or manner, history and precedent teach that the Second Amendment does not

13   confer the right to carry guns anywhere or at any time. See Heller, 554 U.S. at 595. California’s

14   laws regulating the public carrying of firearms strike a permissible balance between preserving

15   order and public safety and accommodating the desire of some residents to carry guns. There are

16   consistent with traditional restrictions on public carry, and are presumptively lawful on that basis.

17         Where text, history, and tradition show that a challenged law is consistent with the Second

18   Amendment, the restriction “‘passes constitutional muster’” and the court’s inquiry “‘is

19   complete.’” Teixeira, 873 F.3d at 682; see Heller, 554 U.S. at 626, 627 n.26.

20         California broadly allows the carrying of firearms in places and circumstances where it has

21   traditionally been common: in or immediately around an individual’s home or place of business

22   and on much other private property with permission; in less-populated areas and during activities

23   such as hunting; and in circumstances of immediate and grave danger to person or property when

24   law enforcement is not available. It also allows qualified individuals to obtain licenses to carry

25   more generally, if they can establish “good cause” under standards set by local officials who are

26   most familiar with the needs and desires of their own communities.

27         However, there is an “historical prevalence” of public carry restrictions similar to those in

28   California. Kachalsky, 701 F.3d at 96. Because “[f]irearms have always been more heavily
                                                           18
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1   regulated in the public sphere,” the right to bear arms “most certainly operates in a different

 2   manner” in that context than when evaluating restrictions that impinge directly on the core right

 3   to keep and carry guns in the home. Drake, 724 F.3d at 430 n.5.

 4         This makes good functional sense. When individuals move outside their homes—and

 5   particularly when they move about in populated areas —their interest in carrying a firearm is

 6   much more likely to come into conflict with the public interest in order and safety. See, e.g.,

 7   Gould, 907 F.3d at 672. The “inherent” risk that firearms present when carried in public

 8   “distinguishes the Second Amendment right from other fundamental rights . . . such as the right to

 9   marry and the right to be free from viewpoint discrimination, which can be exercised without

10   creating a direct risk to others. Bonidy, 790 F.3d at 1126. And as the Fourth Circuit observed, it

11   “is not far-fetched to think” that Heller’s focus on the “core” right to protect the home was born

12   out of a recognition that the danger of “tragic act[s]” of violence “would rise exponentially as one

13   moved the right from the home to the public square.” Masciandaro, 638 F.3d at 475-476.

14         There is a legitimate role for public regulation touching on even our most fundamental

15   rights—especially when there is or can be genuine tension between the exercise of individual

16   rights and the safety of members of the public and law enforcement officers.

17         When, as here, a court will review a challenged statute under intermediate scrutiny, courts

18   ask whether the law promotes a “significant, substantial, or important government objective,” and

19   whether there is a “‘reasonable fit’ between the challenged law and the asserted objective.” Peña,

20   898 F.3d at 979. While the State must show that the law “promotes a substantial government

21   interest that would be achieved less effectively absent the regulation,” it need not demonstrate

22   that the regulation is the “least restrictive means of achieving the government interest.” Id.

23   (citations and quotation marks omitted). A court’s only obligation is to “assure that, in

24   formulating its judgments, [the State] has drawn reasonable inferences based on substantial

25   evidence,’” an inquiry that must accord “‘substantial deference to the predictive judgments’” of

26   the legislature. Id. at 979-980 (quoting Turner Broad. Sys., Inc. v. FCC, 520 U.S. 180, 195

27   (1997)).

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       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
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 1         The need for appropriate deference to legislative predications is especially clear in the

 2   Second Amendment context. “Providing for the safety of citizens within their borders has long

 3   been state government’s most basic task.” Kolbe, 849 F.3d at 150. State legislatures are “‘far

 4   better equipped than the judiciary’ to make sensitive public policy judgments (within

 5   constitutional limits) concerning the dangers in carrying firearms and the manner to combat those

 6   risks.” Kachalsky, 701 F.3d at 97. And, while a legislature’s judgments can be based on

 7   empirical evidence, they need not be; “history, consensus, and ‘simple common sense’” will

 8   suffice. Went for It, Inc., 515 U.S. at 628.

 9         California has a compelling interest in protecting public safety and reducing gun violence.

10   Jackson, 746 F.3d at 965. An increase in guns carried by private persons in public places

11   increases the risk that “‘basic confrontations between individuals [will] turn deadly.’” Wollard,

12   712 F.3d at 879. Similarly, misfired shots or accidental discharges are “more likely to hit a

13   bystander where there are more bystanders to hit.” Blocher, Firearm Localism, 123 Yale L.J. 82,

14   122-123 (2013). The Legislature could also conclude that widespread public carry increases the

15   “availability of handguns to criminals via theft,” Woollard, 712 F.3d at 879, and that such guns

16   would then be used to “commit violent crimes” or be transferred to “others who commit crimes,”

17   U.S. Dep’t of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives, 2012 Summary:

18   Firearms Reported Lost and Stolen 2 (2013).

19         The absence of a prohibition on openly carrying unloaded firearms has created a surge in

20   individuals openly carrying unloaded firearms in public. These incidents adversely affect public

21   safety in several ways. Members of the public who encounter individuals openly carrying

22   firearms are alarmed and fearful for their safety and the safety of others. When members of the

23   public report such incidents to local law enforcement, they are only able to provide law

24   enforcement personnel with incomplete information. As a result, law enforcement agencies

25   respond to such incidents with limited information regarding whether the individual openly

26   carrying the firearm is a danger to himself or herself; a danger to the public; or a danger to the

27   responding law enforcement personnel.

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 1         In such situations, a wrong move by the individual carrying the firearm could be construed

 2   as threatening by the responding law enforcement officer. The officer may feel compelled to

 3   respond in a manner that could result in injury or death. Thus, the practice of openly carrying

 4   unloaded firearms can create an unsafe environment for everyone involved: the individual

 5   carrying the firearm, the responding law enforcement personnel, and all other individuals who

 6   may be nearby.

 7         In addition, responding to incidents involving individuals openly carrying unloaded

 8   firearms taxes the resources of law enforcement agencies already stretched by under-staffing and

 9   budget cutbacks. Such a diversion of resources adversely affects law enforcement agencies’

10   ability to provide other public safety services to their communities. See e.g., Woollard, 712 F.3d

11   at 879-880 (recounting similar policing benefits).

12         According to the legislative history of California Penal Code § 26400, one of the purposes

13   of the bill (A.B. 1527) was to follow up A.B. 144 (Statutes of 2011), which made public open

14   carry of handguns a misdemeanor, by expanding the prohibition to long-guns in incorporated

15   cities. “The absence of a prohibition on ‘open carry’ of long guns has created an increase in

16   problematic instances of these guns carried in public, alarming unsuspecting individuals causing

17   issues for law enforcement. Open carry creates a potentially dangerous situation. In most cases

18   when a person is openly carrying a firearm, law enforcement is called to the scene with few

19   details other than one or more people are present at a location and are armed.” (See DOJ 001050)

20   “In these tense situations, the slightest wrong move by the gun-carrier could be construed as

21   threatening by the responding officer, who may feel compelled to respond in a manner that could

22   be lethal. In this situation the practice of ‘open carry’ creates an unsafe environment for all

23   parties involved; the officer, the gun-carrying individual, and for any other individuals nearby as

24   well.” (See DOJ 001050)

25         “Additionally, the increase in ‘open-carry’ calls placed to law enforcement has taxed

26   departments dealing with under-staffing and cutbacks due to the current fiscal climate in

27   California, preventing them from protecting the public in other ways.” (See DOJ 001051)

28
                                                           21
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1         Here, the Legislature enacted certain exceptions to the general prohibitions on openly

 2   carrying firearms.

 3         Penal Code § 26375 provides that section 26350 does not apply to, or affect, the open

 4   carrying of an unloaded handgun by an authorized participant in, or an authorized employee or

 5   agent of a supplier of firearms for, a motion picture, television or video production, or

 6   entertainment event, when the participant lawfully uses the handgun as part of that production or

 7   event, as part of rehearsing or practicing for participation in that production or event, or while the

 8   participant or authorized employee or agent is at that production or event, or rehearsal or practice

 9   for that production or event. (Pen. Code, § 26375.) According to the Legislative history, Penal

10   Code § 26375 permits the use of unloaded handguns as an “entertainment props.” (See DOJ

11   000219)

12         Likewise, Penal Code § 26405, subdivision (r) provides that Penal Code § 26400 does not

13   apply to, or affect, the carrying of an unloaded firearm that is not a handgun by an authorized

14   participant in, or an authorized employee or agent of a supplier of firearms for, a motion picture,

15   television, or video production or entertainment event, when the participant lawfully uses that

16   firearm as part of that production or event, as part of rehearsing or practicing for participation in

17   that production or event, or while the participant or authorized employee or agent is at that

18   production or event, or rehearsal or practice for that production or event.

19         And, Penal Code § 29500 provides that, “Any person who is at least 21 years of age may

20   apply for an entertainment firearms permit from the Department of Justice. An entertainment

21   firearms permit authorizes the permit holder to possess firearms loaned to the permitholder for

22   use solely as a prop in a motion picture, television, video, theatrical, or other entertainment

23   production or event.” (Added by Stats.2010, c. 711 (S.B. 1080).)

24         INTERROGATORY NO. 6: Identify all documents bearing upon, supporting, or

25   reflecting the reasons set forth in Your response to the preceding interrogatory.

26         RESPONSE TO INTERROGATORY NO. 6:

27         Defendant Becerra incorporates by reference the above-stated general objections as though

28   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is
                                                           22
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

 2   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

 3   that is relevant to Plaintiff’s claims.

 4         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 5   follows: See DOJ 000127-DOJ 000411; DOJ 000749-DOJ 000926; DOJ 0001282-DOJ 001312.

 6         INTERROGATORY NO. 7: State all factors that You contend were considered by the

 7   Legislature of the State of California in determining whether or not to exempt the use of firearms

 8   in other forms of expressive activity from the statutes prohibiting the carrying of firearms in

 9   public.

10         RESPONSE TO INTERROGATORY NO. 7:

11         Defendant Becerra incorporates by reference the above-stated general objections as though

12   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

13   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

14   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

15   that is relevant to Plaintiff’s claims.

16         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

17   follows: Defendant Becerra has not made the contention described in this interrogatory.

18         INTERROGATORY NO. 8: State all reasons for distinguishing between “motion picture,

19   television or video production, or entertainment event[s ]” and other forms of speech or

20   expressive conduct in California Penal Code §§ 26375 and 26405(r).

21         RESPONSE TO INTERROGATORY NO. 8:

22         Defendant Becerra incorporates by reference the above-stated general objections as though

23   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

24   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

25   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

26   that is relevant to Plaintiff’s claims.

27         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

28   follows: The interrogatory call for Defendant Becerra to speculate regarding whether the
                                                           23
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   Legislature considered including other forms of “speech or expressive conduct” in enacting Penal

 2   Code §§ 26375 and 26405, subdivision (r). Thus, Defendant Becerra is unable to respond to this

 3   interrogatory.

 4         INTERROGATORY NO. 9: Identify all documents bearing upon, supporting, or

 5   reflecting the reasons set forth in Your response to the preceding interrogatory.

 6         RESPONSE TO INTERROGATORY NO. 9:

 7         Defendant Becerra incorporates by reference the above-stated general objections as though

 8   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

 9   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

10   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

11   that is relevant to Plaintiff’s claims.

12         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

13   follows: N/A.

14         INTERROGATORY NO. 10: Does the phrase “authorized participant” as used in

15   California Penal Code §§ 26375 and 26405(r) refer to a participant authorized by a governmental

16   body or agency?

17         INITIAL RESPONSE TO INTERROGATORY NO. 10:

18             Defendant Becerra incorporates by reference the above-stated general objections as though

19   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

20   vague and overbroad. Moreover, it seeks information irrelevant to Plaintiff Zeleny’s claims, and

21   not reasonably calculated to lead to the discovery of information that is relevant to Plaintiff’s

22   claims.

23         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

24   follows: Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

25   “authorized participant.”

26         However, according to the Legislative history of Penal Code § 26375, that section permits

27   the use of unloaded handguns as an “entertainment props.” (See DOJ 000219) Additionally, the

28   Entertainment Firearms Permit only authorizes the permit holder “to possess firearms loaned to
                                                           24
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   the permitholder for use solely as a prop in a motion picture, television, video, theatrical, or other

 2   entertainment production or event.” (Penal Code § 29500.) Thus, the exceptions set forth in

 3   Penal Code §§ 26375 and 26405, subdivision (r) are available only to those using unloaded

 4   firearms loaned to them for use as “entertainment props” in a motion picture, television, video,

 5   theatrical, or other entertainment production or event.

 6         AMENDED RESPONSE TO INTERROGATORY NO. 10:

 7         Defendant Becerra incorporates by reference the above-stated general objections as though

 8   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

 9   vague and overbroad. Moreover, it seeks information irrelevant to Plaintiff Zeleny’s claims, and

10   not reasonably calculated to lead to the discovery of information that is relevant to Plaintiff’s

11   claims.

12         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

13   follows: Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

14   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

15   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

16   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

17   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

18   Defendant Becerra played no material role in the events described in the complaint, and was not

19   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

20         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

21   context of this case, Defendant Becerra believes that most plausible reading of the term

22   “authorized participant” as used in California Penal Code §§ 26375 and 26405(r) refers to a

23   participant authorized by a governmental body or agency.

24         INTERROGATORY NO. 11: If Your answer to Interrogatory No. 10 is in the

25   affirmative, identify the governmental bodies or agencies from which authorization is required?

26         INITIAL RESPONSE TO INTERROGATORY NO. 11:

27         Defendant Becerra incorporates by reference the above-stated general objections as though

28   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is
                                                           25
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

 2   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

 3   that is relevant to Plaintiff’s claims.

 4         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 5   follows: N/A.

 6         AMENDED RESPONSE TO INTERROGATORY NO. 11:

 7         Defendant Becerra incorporates by reference the above-stated general objections as though

 8   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

 9   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

10   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

11   that is relevant to Plaintiff’s claims.

12         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

13   follows: Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

14   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

15   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

16   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

17   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

18   Defendant Becerra played no material role in the events described in the complaint, and was not

19   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

20         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

21   context of this case, the Department of Justice’s Entertainment Firearms Permit only authorizes

22   the permit holder “to possess firearms loaned to the permitholder for use solely as a prop in a

23   motion picture, television, video, theatrical, or other entertainment production or event.” (Penal

24   Code § 29500.) Anyone who is not otherwise authorized to carry a weapon openly, but who

25   desires to carry a weapon openly “as a prop in a motion picture, television, video, theatrical, or

26   other entertainment production or event” would need to do so under the auspices of an

27   Entertainment Firearms Permit.

28
                                                           26
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1         The Attorney General understands this exception to have been carried forward into the open

 2   carry laws, as the legislative history of Penal Code § 26375 refers to the use of unloaded

 3   handguns as an “entertainment props.” (See DOJ 000219.) Thus, the exceptions set forth in

 4   Penal Code §§ 26375 and 26405, subdivision (r) are available only to those using unloaded

 5   firearms loaned to them for use as “entertainment props” in a motion picture, television, video,

 6   theatrical, or other entertainment production or event.

 7         While the Department of Justice “authorizes” the use of firearms in this narrow context

 8   through the issuance of Firearms Entertainment Permits, such authorization is in the nature of a

 9   defense to an open carry prosecution within the very narrow context of an entertainment prop, not

10   a preclusion of any other regulation by other agencies. Other law enforcement agencies would

11   not be precluded from ensuring that an individual carrying a weapon openly had a permit, or

12   ensuring that an identified individual is not violating any other federal, state, or local laws or

13   ordinances. Notably, when issuing the Firearms Entertainment Permit, the Department does not

14   verify the nature of the entertainment event or impose any restrictions on how a weapon might be

15   carried or used, but only looks to see if a person is prohibited from owning firearms. In this

16   sense, the Firearms Entertainment Permit is a floor rather than a ceiling, with possible room for

17   other law enforcement agencies to determine, for example, that the open carry of weapons

18   endangered public safety, or was a nuisance, or that someone’s conduct was not a “production or

19   event” covered by the relevant exception, or that someone was not violating other laws.

20         Also, within the structure of the open carry laws, the exception for an authorized participant

21   appears to be analogous to similar exceptions for gun shows (Pen. Code § 26369) or target ranges

22   (Pen. Code § 26365)—defined spaces in which the weapon being carried is not easily visible or

23   accessible to the public. The Attorney General understands the Firearms Entertainment Permit,

24   and the corresponding exceptions to the open carry laws, to apply to confined, non-public spaces

25   for a limited period of time, i.e., in a movie studio or clearly defined production area. To the

26   extent that an individual like Mr. Zeleny seeks to demonstrate on a public street with an unloaded

27   firearm in an unconfined area and/or for an indefinite period of time, the Attorney General views

28   the open carrying of unloaded weapons on a public street, in an unconfined area fully visible to
                                                           27
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   and accessible by anyone else, and not within what would reasonably be considered a defined,

 2   enclosed production area, to potentially be conduct outside the scope of the Firearms

 3   Entertainment Permit and the corresponding exception to the open carry laws, and potentially

 4   subject to enforcement by the law enforcement agency primarily responsible for enforcing the

 5   open carry laws in that area.

 6         SECOND AMENDED RESPONSE TO INTERROGATORY NO. 11:

 7         Defendant Becerra incorporates by reference the above-stated general objections as though

 8   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

 9   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

10   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

11   that is relevant to Plaintiff’s claims.

12         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

13   follows: Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

14   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

15   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

16   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

17   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

18   Defendant Becerra played no material role in the events described in the complaint, and was not

19   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

20         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

21   context of this case, Defendant Becerra believes that an “authorized participant” must be

22   operating under the auspices of a Department of Justice Entertainment Firearms Permit, which

23   authorizes the permit holder “to possess firearms loaned to the permitholder for use solely as a

24   prop in a motion picture, television, video, theatrical, or other entertainment production or event.”

25   (Penal Code § 29500.) For entertainment productions this generally has meant that a propmaster

26   or similarly qualified person is supervising the use of firearms in the production, and others

27   involved in the production may transfer or possess firearms under the auspices of the supervising

28   permit-holder.
                                                           28
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1         INTERROGATORY NO. 12: If Your answer to Interrogatory No. 10 is in the

 2   affirmative, state all bases for your contention that the phrase “authorized participant,” as used in

 3   California Penal Code §§ 26375 and 26405(r), refers to a participant authorized by a

 4   governmental body or agency?

 5         INITIAL RESPONSE TO INTERROGATORY NO. 12:

 6         Defendant Becerra incorporates by reference the above-stated general objections as though

 7   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

 8   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

 9   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

10   that is relevant to Plaintiff’s claims.

11         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

12   follows: N/A.

13         AMENDED RESPONSE TO INTERROGATORY NO. 12:

14         Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

15   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

16   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

17   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

18   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

19   Defendant Becerra played no material role in the events described in the complaint, and was not

20   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

21         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

22   context of this case, Defendant Becerra believes that most plausible reading of the term

23   “authorized participant” as used in California Penal Code §§ 26375 and 26405(r) refers to a

24   participant authorized by a governmental body or agency. The opposite reading is less plausible.

25   In the broader context of California law, and especially in the context of the Penal Code, it would

26   be anomalous for an individual to be able to exempt themselves from the reach of a penal statute

27   by “authorizing” an exception for themselves.

28
                                                           29
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   SECOND AMENDED RESPONSE TO INTERROGATORY NO. 12:

 2         Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

 3   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

 4   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

 5   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

 6   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

 7   Defendant Becerra played no material role in the events described in the complaint, and was not

 8   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

 9         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

10   context of this case, Defendant Becerra believes that most plausible reading of the term

11   “authorized participant” as used in California Penal Code §§ 26375 and 26405(r) refers to a

12   participant authorized by a governmental body or agency. This reading is based on Defendant

13   Becerra’s historical understanding of the Department of Justice’s Firearms Entertainment Permit,

14   which authorizes the permit holder “to possess firearms loaned to the permitholder for use solely

15   as a prop in a motion picture, television, video, theatrical, or other entertainment production or

16   event.” (Penal Code § 29500.) The Attorney General understands this exception to have been

17   carried forward into the open carry laws, as the legislative history of Penal Code § 26375 refers to

18   the use of unloaded handguns as an “entertainment props.” (See DOJ 000219.) Thus, the

19   exceptions set forth in Penal Code §§ 26375 and 26405, subdivision (r) are available only to those

20   using unloaded firearms loaned to them for use as “entertainment props” in a motion picture,

21   television, video, theatrical, or other entertainment production or event, and when operating under

22   the auspices of a Firearms Entertainment Permit.

23         The opposite reading is less plausible. In the broader context of California law, and

24   especially in the context of the Penal Code, it would be anomalous for an individual to be able to

25   exempt themselves from the reach of a penal statute by “authorizing” an exception for

26   themselves.

27         INTERROGATORY NO. 13: If your answer to Interrogatory No. 10 is in the negative,

28   state the persons or entities whose authorization is required in order for California Penal Code §§
                                                           30
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 35 of 100



 1   26375 and 26405(r) to exempt the carrying of firearms from California Penal Code §§ 26350 and

 2   26405.

 3         INITIAL RESPONSE TO INTERROGATORY NO. 13:

 4         Defendant Becerra incorporates by reference the above-stated general objections as though

 5   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

 6   vague and overbroad. Moreover, it seeks information irrelevant to Plaintiff Zeleny’s claims, and

 7   not reasonably calculated to lead to the discovery of information that is relevant to Plaintiff’s

 8   claims.

 9         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

10   follows: The Legislature enacted certain exceptions to the general prohibitions on openly carrying

11   firearms.

12         Penal Code § 26375 provides that section 26350 does not apply to, or affect, the open

13   carrying of an unloaded handgun by an authorized participant in, or an authorized employee or

14   agent of a supplier of firearms for, a motion picture, television or video production, or

15   entertainment event, when the participant lawfully uses the handgun as part of that production or

16   event, as part of rehearsing or practicing for participation in that production or event, or while the

17   participant or authorized employee or agent is at that production or event, or rehearsal or practice

18   for that production or event. (Pen. Code, § 26375.) According to the Legislative history, Penal

19   Code § 26375 permits the use of unloaded handguns as an “entertainment props.” (See DOJ

20   000219)

21         Likewise, Penal Code § 26405, subdivision (r) provides that Penal Code § 26400 does not

22   apply to, or affect, the carrying of an unloaded firearm that is not a handgun by an authorized

23   participant in, or an authorized employee or agent of a supplier of firearms for, a motion picture,

24   television, or video production or entertainment event, when the participant lawfully uses that

25   firearm as part of that production or event, as part of rehearsing or practicing for participation in

26   that production or event, or while the participant or authorized employee or agent is at that

27   production or event, or rehearsal or practice for that production or event.

28
                                                           31
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1         And, Penal Code § 29500 provides that, “Any person who is at least 21 years of age may

 2   apply for an entertainment firearms permit from the Department of Justice. An entertainment

 3   firearms permit authorizes the permit holder to possess firearms loaned to the permitholder for

 4   use solely as a prop in a motion picture, television, video, theatrical, or other entertainment

 5   production or event.” (Added by Stats.2010, c. 711 (S.B. 1080).)

 6         AMENDED RESPONSE TO INTERROGATORY NO. 13:

 7         No amendment is needed because Defendant Becerra’s answer to interrogatory 10 was not

 8   in the negative.

 9         INTERROGATORY NO. 14: Do California Penal Codes §§ 26375 and 26405(r) require

10   that the “motion picture, television or video production” or “entertainment event” itself be

11   authorized in order to exempt participants from California Penal Code §§ 26350 and 26405?

12         INITIAL RESPONSE TO INTERROGATORY NO. 14:

13         Defendant Becerra incorporates by reference the above-stated general objections as though

14   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

15   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

16   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

17   that is relevant to Plaintiff’s claims.

18         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

19   follows: Penal Code §§ 26375 and 26405(r) do not address whether the “motion picture,

20   television or video production” or “entertainment event” itself be authorized in order to exempt

21   participants from California Penal Code §§ 26350 and 26405. Accordingly, Defendant Becerra is

22   unable to respond to this interrogatory.

23         AMENDED RESPONSE TO INTERROGATORY NO. 14:

24         Defendant Becerra incorporates by reference the above-stated general objections as though

25   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

26   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

27   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

28   that is relevant to Plaintiff’s claims.
                                                           32
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 2   follows: Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

 3   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

 4   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

 5   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

 6   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

 7   Defendant Becerra played no material role in the events described in the complaint, and was not

 8   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

 9         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

10   context of this case, Penal Code §§ 26375 and 26405(r) do not address whether the “motion

11   picture, television or video production” or “entertainment event” itself be “authorized” in order to

12   exempt participants from California Penal Code §§ 26350 and 26405. The term “authorized”

13   only clearly modifies the terms “participant,” “employee” or “agent.” And since Mr. Zeleny

14   himself appears to be the “participant” possessing the weapon(s), it appears to be irrelevant if his

15   “production” or “event” is separately authorized. As Defendant Becerra understands the facts, the

16   question might be different if Mr. Zeleny were not the person openly carrying weapons, but were

17   only the person responsible for a “production” or “event.”

18         Whether or not the “motion picture, television or video production” or “entertainment

19   event” itself must be “authorized” also appears to be a separate question from whether there exists

20   a bona fide “production” or “event” to begin with. Again specifically in the context of this case,

21   within the structure of the open carry laws, the relevant exception appears to be analogous to

22   similar exceptions for gun shows (Pen. Code § 26369) or target ranges (Pen. Code § 26365)—

23   defined spaces in which the weapon being carried is not easily visible or accessible to the public.

24   The Attorney General understands the Firearms Entertainment Permit, and the corresponding

25   exceptions to the open carry laws, to apply to confined, non-public spaces for a limited period of

26   time, i.e., in a movie studio or clearly defined production area. To the extent that an individual

27   like Mr. Zeleny seeks to demonstrate on a public street with an unloaded firearm in an unconfined

28   area and/or for an indefinite period of time, the Attorney General views the open carrying of
                                                           33
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 38 of 100



 1   unloaded weapons on a public street, in an unconfined area fully visible to and accessible by

 2   anyone else, and not within what would reasonably be considered a defined, enclosed production

 3   area (i.e., a production or event), to potentially be conduct outside the scope of the Firearms

 4   Entertainment Permit and the corresponding exception to the open carry laws, and potentially

 5   subject to enforcement by the law enforcement agency primarily responsible for enforcing the

 6   open carry laws in that area.

 7         While the Department of Justice “authorizes” the use of firearms in this narrow context

 8   through the issuance of Firearms Entertainment Permits, such authorization is in the nature of a

 9   defense to an open carry prosecution within the very narrow context of an entertainment prop, not

10   a preclusion of any other regulation by other agencies. Other law enforcement agencies would

11   not be precluded from ensuring that an individual carrying a weapon openly had a permit, or

12   ensuring that an identified individual is not violating any other federal, state, or local laws or

13   ordinances. Notably, when issuing the Firearms Entertainment Permit, the Department does not

14   verify the nature of the entertainment event or impose any restrictions on how a weapon might be

15   carried or used, but only looks to see if a person is prohibited from owning firearms. In this

16   sense, the Firearms Entertainment Permit is a floor rather than a ceiling, with possible room for

17   other law enforcement agencies to determine, for example, that the open carry of weapons

18   endangered public safety, or was a nuisance, or that someone’s conduct was not a “production or

19   event” covered by the relevant exception, or that someone was not violating other laws.

20         INTERROGATORY NO. 15: If your response to Interrogatory No. 14 is in the

21   affirmative, identify all persons or entities whose authorization of the “motion picture, television

22   or video production” or “entertainment event” is required in order to exempt participants from

23   California Penal Code §§ 26350 and 26405.

24         INITIAL RESPONSE TO INTERROGATORY NO. 15:

25         Defendant Becerra incorporates by reference the above-stated general objections as though

26   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

27   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

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                                                           34
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

 2   that is relevant to Plaintiff’s claims.

 3         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 4   follows: N/A.

 5         AMENDED RESPONSE TO INTERROGATORY NO. 15:

 6         Defendant Becerra’s answer to interrogatory 14 was not in the affirmative.

 7         INTERROGATORY NO. 16: State all of the bases for Your response to Interrogatory

 8   No. 14.

 9         INITIAL RESPONSE TO INTERROGATORY NO. 16:

10         Defendant Becerra incorporates by reference the above-stated general objections as though

11   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

12   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

13   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

14   that is relevant to Plaintiff’s claims.

15         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

16   follows: N/A.

17         AMENDED RESPONSE TO INTERROGATORY NO. 16:

18         Defendant Becerra has never issued a formal opinion under California law regarding the

19   meaning of the phrase “authorized participant,” and this response is not such an opinion and

20   cannot be relied upon as such an opinion. Nor is this response a generally applicable rule or

21   regulation that is intended to be applied outside of the context of this case. Moreover, Defendant

22   Becerra played no material role in the events described in the complaint, and was not involved in

23   the denial of Plaintiff Michael Zeleny’s permit application(s).

24         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

25   context of this case, Penal Code §§ 26375 and 26405(r) do not address whether the “motion

26   picture, television or video production” or “entertainment event” itself be “authorized” in order to

27   exempt participants from California Penal Code §§ 26350 and 26405. The term “authorized”

28   only clearly modifies the terms “participant,” “employee” or “agent.” And since Mr. Zeleny
                                                           35
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   himself appears to be the “participant” possessing the weapon(s), it appears to be irrelevant if his

 2   “production” or “event” is separately authorized. As Defendant Becerra understands the facts, the

 3   question might be different if Mr. Zeleny were not the person openly carrying weapons, but were

 4   only the person responsible for a “production” or “event.”

 5         Whether or not the “motion picture, television or video production” or “entertainment

 6   event” itself must be “authorized” also appears to be a separate question from whether there exists

 7   a bona fide “production” or “event” to begin with. Again specifically in the context of this case,

 8   within the structure of the open carry laws, the relevant exception appears to be analogous to

 9   similar exceptions for gun shows (Pen. Code § 26369) or target ranges (Pen. Code § 26365)—

10   defined spaces in which the weapon being carried is not easily visible or accessible to the public.

11   The Attorney General understands the Firearms Entertainment Permit, and the corresponding

12   exceptions to the open carry laws, to apply to confined, non-public spaces for a limited period of

13   time, i.e., in a movie studio or clearly defined production area. To the extent that an individual

14   like Mr. Zeleny seeks to demonstrate on a public street with an unloaded firearm in an unconfined

15   area and/or for an indefinite period of time, the Attorney General views the open carrying of

16   unloaded weapons on a public street, in an unconfined area fully visible to and accessible by

17   anyone else, and not within what would reasonably be considered a defined, enclosed production

18   area (i.e., a production or event), to potentially be conduct outside the scope of the Firearms

19   Entertainment Permit and the corresponding exception to the open carry laws, and potentially

20   subject to enforcement by the law enforcement agency primarily responsible for enforcing the

21   open carry laws in that area.

22         This conclusion is consistent with the legislative history of the open carry statutes. The

23   absence of a prohibition on openly carrying unloaded firearms has created a surge in individuals

24   openly carrying unloaded firearms in public. These incidents adversely affect public safety in

25   several ways. Members of the public who encounter individuals openly carrying firearms are

26   alarmed and fearful for their safety and the safety of others. When members of the public report

27   such incidents to local law enforcement, they are only able to provide law enforcement personnel

28   with incomplete information. As a result, law enforcement agencies respond to such incidents
                                                           36
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 41 of 100



 1   with limited information regarding whether the individual openly carrying the firearm is a danger

 2   to himself or herself; a danger to the public; or a danger to the responding law enforcement

 3   personnel.

 4         In such situations, a wrong move by the individual carrying the firearm could be construed

 5   as threatening by the responding law enforcement officer. The officer may feel compelled to

 6   respond in a manner that could result in injury or death. Thus, the practice of openly carrying

 7   unloaded firearms can create an unsafe environment for everyone involved: the individual

 8   carrying the firearm, the responding law enforcement personnel, and all other individuals who

 9   may be nearby.

10         In addition, responding to incidents involving individuals openly carrying unloaded

11   firearms taxes the resources of law enforcement agencies already stretched by under-staffing and

12   budget cutbacks. Such a diversion of resources adversely affects law enforcement agencies’

13   ability to provide other public safety services to their communities. See e.g., Woollard, 712 F.3d

14   at 879-880 (recounting similar policing benefits).

15         According to the legislative history of California Penal Code § 26400, one of the purposes

16   of the bill (A.B. 1527) was to follow up A.B. 144 (Statutes of 2011), which made public open

17   carry of handguns a misdemeanor, by expanding the prohibition to long-guns in incorporated

18   cities. “The absence of a prohibition on ‘open carry’ of long guns has created an increase in

19   problematic instances of these guns carried in public, alarming unsuspecting individuals causing

20   issues for law enforcement. Open carry creates a potentially dangerous situation. In most cases

21   when a person is openly carrying a firearm, law enforcement is called to the scene with few

22   details other than one or more people are present at a location and are armed.” (See DOJ 001050)

23   “In these tense situations, the slightest wrong move by the gun-carrier could be construed as

24   threatening by the responding officer, who may feel compelled to respond in a manner that could

25   be lethal. In this situation the practice of ‘open carry’ creates an unsafe environment for all

26   parties involved; the officer, the gun-carrying individual, and for any other individuals nearby as

27   well.” (See DOJ 001050)

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                                                           37
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1         “Additionally, the increase in ‘open-carry’ calls placed to law enforcement has taxed

 2   departments dealing with under-staffing and cutbacks due to the current fiscal climate in

 3   California, preventing them from protecting the public in other ways.” (See DOJ 001051)

 4         The opposite legal interpretation is less plausible. If anyone could create a “motion picture,

 5   television or video production” or “entertainment event” merely by filming themselves in a public

 6   place (using an object as small as a cell phone), with no meaningful limitation on the visibility or

 7   timing of the firearms display, such an exception would swallow the general prohibition on open

 8   carrying of weapons and be inconsistent with the California Legislature’s intent to minimize

 9   potentially dangerous interactions in public.

10         INTERROGATORY NO. 17: State all facts supporting your interpretation of California

11   Penal Code §§ 26375 and 26405(r).

12         RESPONSE TO INTERROGATORY NO. 17:

13         Defendant Becerra incorporates by reference the above-stated general objections as though

14   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

15   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

16   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

17   that is relevant to Plaintiff’s claims.

18         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

19   follows: Defendant Becerra has not issued an interpretation of California Penal Code §§ 26375

20   and 26405, subdivision (r). However, the California Department of Justice does possess

21   documents that are related to firearms generally. See and DOJ 0001282-DOJ 001312.

22         INTERROGATORY NO. 18: Describe in detail all means through which your

23   interpretation of California Penal Code §§ 26375 and 26405(r) has been relayed to municipalities

24   and local governments.

25         RESPONSE TO INTERROGATORY NO. 18:

26         Defendant Becerra incorporates by reference the above-stated general objections as though

27   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

28   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to
                                                           38
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

 2   that is relevant to Plaintiff’s claims.

 3         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 4   follows: Defendant Becerra has not issued an interpretation of California Penal Code §§ 26375

 5   and 26405(r). However, the California Department of Justice does possess documents that are

 6   related to firearms generally. See and DOJ 0001282-DOJ 001312.

 7         INTERROGATORY NO. 19: Identify all documents reflecting your interpretation of

 8   California Penal Code §§ 26375 and 26405(r).

 9         RESPONSE TO INTERROGATORY NO. 19:

10         Defendant Becerra incorporates by reference the above-stated general objections as though

11   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

12   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

13   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

14   that is relevant to Plaintiff’s claims.

15         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

16   follows: Defendant Becerra has not issued an interpretation of California Penal Code §§ 26375

17   and 26405(r). Thus, Defendant Becerra is not aware of any documents that would be responsive

18   to this request. However, the California Department of Justice does possess documents that are

19   related to firearms generally. See and DOJ 0001282-DOJ 001312.

20         INTERROGATORY NO. 20: Identify all documents reflecting that you have conveyed

21   your interpretation of California Penal Code §§ 26375 and 26405(r).

22         RESPONSE TO INTERROGATORY NO. 20:

23         Defendant Becerra incorporates by reference the above-stated general objections as though

24   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

25   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

26   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

27   that is relevant to Plaintiff’s claims.

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                                                           39
       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 2   follows: Defendant Becerra has not issued an interpretation of California Penal Code §§ 26375

 3   and 26405(r). Thus, Defendant Becerra is not aware of any documents that would be responsive

 4   to this request. However, the California Department of Justice does possess documents that are

 5   related to firearms generally. See and DOJ 0001282-DOJ 001312.

 6         INTERROGATORY NO. 21: Identify the types of events that qualify as “entertainment

 7   events” under California Penal Code §§ 26375, 26405(r), and 25510.

 8         RESPONSE TO INTERROGATORY NO. 21:

 9         Defendant Becerra incorporates by reference the above-stated general objections as though

10   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

11   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

12   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

13   that is relevant to Plaintiff’s claims.

14         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

15   follows: Defendant Becerra has not issued an interpretation of the types of events that would

16   qualify as “entertainment events” under California Penal Code §§ 26375, 26405, subdivision (r),

17   and 25510. Thus, Defendant Becerra is not aware of any documents that would be responsive to

18   this request. However, the California Department of Justice does possess documents that are

19   related to firearms generally. See and DOJ 0001282-DOJ 001312.

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       Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                  RS)
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 1   Dated: October 23, 2020                                     Respectfully submitted,

 2                                                               XAVIER BECERRA
                                                                 Attorney General of California
 3                                                               ANTHONY R. HAKL
                                                                 Supervising Deputy Attorney General
 4

 5                                                               /s/ John W. Killeen
                                                                 JOHN W. KILLEEN
 6                                                               Deputy Attorney General
                                                                 Attorneys for Defendant Attorney General
 7                                                               Xavier Becerra

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        Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s First Set of Interrogatories (3:17-cv-07357
                                                                                                                   RS)
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              Exhibit 2
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 1   XAVIER BECERRA
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     Attorneys for Defendant Attorney General Xavier
 9   Becerra

10
                                IN THE UNITED STATES DISTRICT COURT
11
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14

15   MICHAEL ZELENY, an individual,                            3:17-cv-07357 RS

16                                          Plaintiff, DEFENDANT ATTORNEY GENERAL
                                                       XAVIER BECERRA’S SECOND
17                  v.                                 AMENDED RESPONSES TO
                                                       PLAINTIFF MICHAEL ZELENY’S
18                                                     INTERROGATORIES, SET TWO
     GAVIN NEWSOM, an individual, in his
19   official capacity; XAVIER BECERRA, an
     individual, in his official capacity; CITY OF
20   MENLO PARK, a municipal corporation;
     and DAVE BERTINI, in his official
21   capacity,

22                                          Defendants.

23

24         PROPOUNDING PARTY:                      Plaintiff Michael Zeleny

25         ANSWERING PARTY:                        Defendant Attorney General Xavier Becerra

26         SET NUMBER:                             Two

27

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                                                           1
     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 1                                      PRELIMINARY STATEMENT

 2         Defendant Becerra objects to each interrogatory to the extent that it purports to impose any

 3   obligation or requirement greater than or different to the obligations or requirements set forth in

 4   the Federal Rules of Civil Procedure and/or the applicable rules and orders of this Court.

 5         Defendant Becerra objects to each interrogatory to the extent that it calls for the disclosure

 6   of information protected from disclosure by the attorney work-product doctrine, the attorney-

 7   client privilege, the deliberative process privilege and/or any other applicable privilege or

 8   protection. Should Defendant Becerra disclose any privileged or otherwise protected information

 9   in these responses, the disclosure is inadvertent and does not constitute a waiver of the privilege

10   or protection.

11         Defendant Becerra objects to each interrogatory to the extent that it calls for him to

12   interpret what the Legislature intended when it drafted any of the statutory provisions at issue in

13   this case.

14         Defendant Becerra has not completed the investigation of the facts and issues relating to

15   Plaintiff Zeleny’s claims and has not completed discovery in this action. All of the answers

16   contained herein are based solely upon information and documents which are presently available

17   to, and specifically known by, Defendant Becerra, and the answers disclose only those

18   contentions which presently occur to Defendant Becerra. Further discovery, independent

19   investigation, legal research and analysis may supply additional facts and may lead to additions,

20   changes, and variations from the answers herein.

21         The following answers are given without prejudice to the right to produce evidence and/or

22   witnesses or rely on facts which Defendant Becerra may later discover. Defendant Becerra

23   accordingly reserves the right to change any and all answers herein as additional facts are

24   ascertained, witnesses identified and legal research is completed. The answers contained herein

25   are made in good faith in an attempt to supply as much factual information and as much

26   specification of legal contention as is presently known, and in no way prejudices Defendant

27   Becerra in relation to further discovery and proceedings.

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     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 1         Defendant Becerra incorporates by reference every general objection set forth above into

 2   each specific answer set forth below. A specific response may repeat a general objection for

 3   emphasis or some other reason. The failure to include a general objection in any specific answer

 4   does not waive any general objection to that interrogatory.

 5         INTERROGATORY NO. 22: Is an individual who has a valid “entertainment firearms

 6   permit” issued pursuant to Penal Code § 29500 an “authorized participant” within the meaning of

 7   Penal Code §§ 26375 and 26405(r)?

 8         INITIAL RESPONSE TO INTERROGATORY NO. 22:

 9         Defendant Becerra incorporates by reference the above-stated general objections as though

10   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it poses

11   a question of pure law. Defendant Becerra is not required to respond to interrogatories raising

12   questions of pure law. See AngioScore, Inc. v. TriReme Med., Inc., No. 12-cv-03393-YGR (JSC),

13   2014 WL 7188779, at *5 (N.D. Cal. Dec. 16, 2014) (“[I]nterrogatories directed to issues of ‘pure

14   law’—i.e., abstract legal issues not dependent on the facts of the case are not permitted”) (citation

15   and some internal punctuation omitted). Defendant Becerra also objects to this interrogatory

16   because it calls for him to interpret what the Legislature intended when it drafted any of the

17   statutory provisions at issue in this case.

18         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

19   follows: Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

20   “authorized participant.” Thus, what the Legislature intended by that phrase is a question of

21   statutory interpretation.

22         However, according to the Legislative history of Penal Code § 26375, that section permits

23   the use of unloaded handguns as an “entertainment props.” (See DOJ 000219) Additionally, the

24   Entertainment Firearms Permit authorizes the permit holder “to possess firearms loaned to the

25   permitholder for use solely as a prop in a motion picture, television, video, theatrical, or other

26   entertainment production or event.” (Penal Code § 29500.) Thus, it is possible to infer that the

27   Legislature intended the exceptions set forth in Penal Code §§ 26375 and 26405, subdivision (r)

28   to be available only to those using unloaded firearms loaned to them for use as “entertainment
                                                           3
     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 50 of 100



 1   props” in a motion picture, television, video, theatrical, or other entertainment production or

 2   event.

 3         AMENDED RESPONSE TO INTERROGATORY 22:

 4         Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

 5   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

 6   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

 7   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

 8   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

 9   Defendant Becerra played no material role in the events described in the complaint, and was not

10   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

11         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

12   context of this case, an individual who has a valid “entertainment firearms permit” issued

13   pursuant to Penal Code § 29500 could be an “authorized participant” within the meaning of Penal

14   Code §§ 26375 and 26405(r) for the very narrow purpose of having a defense against a

15   prosecution of open carry laws, if that individual were using the weapon as a prop in a motion

16   picture, television, video, theatrical, or other entertainment production or event. However, that

17   individual would not be immune from other regulation of their activities.

18         SECOND AMENDED RESPONSE TO INTERROGATORY NO. 22:

19         Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

20   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

21   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

22   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

23   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

24   Defendant Becerra played no material role in the events described in the complaint, and was not

25   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

26         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

27   context of this case, an individual who has a valid “entertainment firearms permit” issued

28   pursuant to Penal Code § 29500 would be an “authorized participant” within the meaning of
                                                           4
     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
     Case 3:17-cv-07357-RS Document 163-1 Filed 01/21/21 Page 51 of 100



 1   Penal Code §§ 26375 and 26405(r) for the narrow purpose of having a defense against a

 2   prosecution of open carry laws, if that individual were using the weapon as a prop in a motion

 3   picture, television, video, theatrical, or other entertainment production or event. However, that

 4   individual would not be immune from other regulation of their activities.

 5         INTERROGATORY NO. 23: State all facts supporting your response to the preceding

 6   interrogatory.

 7         INITIAL RESPONSE TO INTERROGATORY NO. 23:

 8         Defendant Becerra incorporates by reference the above-stated general objections as though

 9   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it poses

10   a question of pure law. Defendant Becerra is not required to respond to interrogatories raising

11   questions of pure law. See AngioScore, Inc. v. TriReme Med., Inc., No. 12-cv-03393-YGR (JSC),

12   2014 WL 7188779, at *5 (N.D. Cal. Dec. 16, 2014) (“[I]nterrogatories directed to issues of ‘pure

13   law’—i.e., abstract legal issues not dependent on the facts of the case are not permitted”) (citation

14   and some internal punctuation omitted). Defendant Becerra also objects to this interrogatory

15   because it calls for him to interpret what the Legislature intended when it drafted any of the

16   statutory provisions at issue in this case.

17         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

18   follows: Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

19   “authorized participant.” Thus, what the Legislature intended by that phrase is a question of

20   statutory interpretation.

21         However, according to the Legislative history of Penal Code § 26375, that section permits

22   the use of unloaded handguns as an “entertainment props.” (See DOJ 000219) Additionally, the

23   Entertainment Firearms Permit authorizes the permit holder “to possess firearms loaned to the

24   permitholder for use solely as a prop in a motion picture, television, video, theatrical, or other

25   entertainment production or event.” (Penal Code § 29500.) Thus, it is possible to infer that the

26   Legislature intended the exceptions set forth in Penal Code §§ 26375 and 26405, subdivision (r)

27   to be available only to those using unloaded firearms loaned to them for use as “entertainment

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     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 1   props” in a motion picture, television, video, theatrical, or other entertainment production or

 2   event.

 3         AMENDED RESPONSE TO INTERROGATORY 23:

 4         Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

 5   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

 6   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

 7   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable

 8   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

 9   Defendant Becerra played no material role in the events described in the complaint, and was not

10   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

11         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

12   context of this case, the Department of Justice’s Entertainment Firearms Permit only authorizes

13   the permit holder “to possess firearms loaned to the permitholder for use solely as a prop in a

14   motion picture, television, video, theatrical, or other entertainment production or event.” (Penal

15   Code § 29500.) Anyone who is not otherwise authorized to carry a weapon openly, but who

16   desires to carry a weapon openly “as a prop in a motion picture, television, video, theatrical, or

17   other entertainment production or event” would need to do so under the auspices of an

18   Entertainment Firearms Permit.

19         The Attorney General understands this exception to have been carried forward into the open

20   carry laws, as the legislative history of Penal Code § 26375 refers to the use of unloaded

21   handguns as an “entertainment props.” (See DOJ 000219.) Thus, the exceptions set forth in

22   Penal Code §§ 26375 and 26405, subdivision (r) are available only to those using unloaded

23   firearms loaned to them for use as “entertainment props” in a motion picture, television, video,

24   theatrical, or other entertainment production or event.

25         While the Department of Justice “authorizes” the use of firearms in this narrow context

26   through the issuance of Firearms Entertainment Permits, such authorization is in the nature of a

27   defense to an open carry prosecution within the very narrow context of an entertainment prop, not

28   a preclusion of any other regulation by other agencies. Other law enforcement agencies would
                                                           6
     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 1   not be precluded from ensuring that an individual carrying a weapon openly had a permit, or

 2   ensuring that an identified individual is not violating any other federal, state, or local laws or

 3   ordinances. Notably, when issuing the Firearms Entertainment Permit, the Department does not

 4   verify the nature of the entertainment event or impose any restrictions on how a weapon might be

 5   carried or used, but only looks to see if a person is prohibited from owning firearms. In this

 6   sense, the Firearms Entertainment Permit is a floor rather than a ceiling, with possible room for

 7   other law enforcement agencies to determine, for example, that the open carry of weapons

 8   endangered public safety, or was a nuisance, or that someone’s conduct was not a “production or

 9   event” covered by the relevant exception, or that someone was not violating other laws.

10         Also, within the structure of the open carry laws, the exception for an authorized participant

11   appears to be analogous to similar exceptions for gun shows (Pen. Code § 26369) or target ranges

12   (Pen. Code § 26365)—defined spaces in which the weapon being carried is not easily visible or

13   accessible to the public. The Attorney General understands the Firearms Entertainment Permit,

14   and the corresponding exceptions to the open carry laws, to apply to confined, non-public spaces

15   for a limited period of time, i.e., in a movie studio or clearly defined production area. To the

16   extent that an individual like Mr. Zeleny seeks to demonstrate on a public street with an unloaded

17   firearm in an unconfined area and/or for an indefinite period of time, the Attorney General views

18   the open carrying of unloaded weapons on a public street, in an unconfined area fully visible to

19   and accessible by anyone else, and not within what would reasonably be considered a defined,

20   enclosed production area, to potentially be conduct outside the scope of the Firearms

21   Entertainment Permit and the corresponding exception to the open carry laws, and potentially

22   subject to enforcement by the law enforcement agency primarily responsible for enforcing the

23   open carry laws in that area.

24   SECOND AMENDED RESPONSE TO INTERROGATORY NO. 23:

25         Penal Code §§ 26375 and 26405, subdivision (r) do not include definitions of the phrase

26   “authorized participant.” Defendant Becerra has never issued a formal opinion under California

27   law regarding the meaning of the phrase “authorized participant,” and this response is not such an

28   opinion and cannot be relied upon as such an opinion. Nor is this response a generally applicable
                                                           7
     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 1   rule or regulation that is intended to be applied outside of the context of this case. Moreover,

 2   Defendant Becerra played no material role in the events described in the complaint, and was not

 3   involved in the denial of Plaintiff Michael Zeleny’s permit application(s).

 4         Based on Defendant Becerra’s understanding of Plaintiff Zeleny’s situation, in the specific

 5   context of this case, the Department of Justice’s Entertainment Firearms Permit only authorizes

 6   the permit holder “to possess firearms loaned to the permitholder for use solely as a prop in a

 7   motion picture, television, video, theatrical, or other entertainment production or event.” (Penal

 8   Code § 29500.) Anyone who is not otherwise authorized to carry a weapon openly, but who

 9   desires to carry a weapon openly “as a prop in a motion picture, television, video, theatrical, or

10   other entertainment production or event” would need to do so under the auspices of an

11   Entertainment Firearms Permit. For entertainment productions this generally has meant that a

12   propmaster or similarly qualified person is supervising the use of firearms in the production, and

13   others involved in the production may transfer or possess firearms under the auspices of the

14   supervising permit-holder.

15         The Attorney General understands this exception to have been carried forward into the open

16   carry laws, as the legislative history of Penal Code § 26375 refers to the use of unloaded

17   handguns as an “entertainment props.” (See DOJ 000219.) Thus, the exceptions set forth in

18   Penal Code §§ 26375 and 26405, subdivision (r) are available only to those using unloaded

19   firearms loaned to them for use as “entertainment props” in a motion picture, television, video,

20   theatrical, or other entertainment production or event, and when operating under the auspices of a

21   Firearms Entertainment Permit.

22   INTERROGATORY NO. 24: State all facts supporting your contention that the definition of

23   “authorized participant” under Penal Code §§ 26375 and 26405(r) refers to a person with an

24   “entertainment firearms permit” issued pursuant to Penal Code § 29500.

25         INITIAL RESPONSE TO INTERROGATORY NO. 24:

26         Defendant Becerra incorporates by reference the above-stated general objections as though

27   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it poses

28   a question of pure law. Defendant Becerra is not required to respond to interrogatories raising
                                                           8
     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 1   questions of pure law. See AngioScore, Inc. v. TriReme Med., Inc., No. 12-cv-03393-YGR (JSC),

 2   2014 WL 7188779, at *5 (N.D. Cal. Dec. 16, 2014) (“[I]nterrogatories directed to issues of ‘pure

 3   law’—i.e., abstract legal issues not dependent on the facts of the case are not permitted”) (citation

 4   and some internal punctuation omitted).

 5         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

 6   follows: Defendant Becerra has not made this contention. What the Legislature intended when it

 7   used the phrase “authorized participant” is a question of statutory interpretation.

 8         AMENDED RESPONSE TO INTERROGATORY 24:

 9         Becerra has not made this contention. However, to the extent that he had, in response to

10   interrogatory 23, Becerra has explained his understanding of the statute in the context of this

11   particular case.

12         SECOND AMENDED RESPONSE TO INTERROGATORY NO. 24:

13         To the extent that Defendant Becerra has made the contention “that the definition of

14   ‘authorized participant’ under Penal Code §§ 26375 and 26405(r) refers to a person with an

15   ‘entertainment firearms permit’ issued pursuant to Penal Code § 29500, in response to

16   interrogatory 23, Becerra has explained his understanding of the statute in the context of this

17   particular case.

18         INTERROGATORY NO. 25: Identify all documents bearing upon, supporting, or

19   reflecting the facts set forth in Your response to the preceding interrogatory.

20         RESPONSE TO INTERROGATORY NO. 25:

21         Defendant Becerra incorporates by reference the above-stated general objections as though

22   fully set forth herein. Defendant Becerra objects to this interrogatory on the grounds that it is

23   vague and overbroad, and unduly burdensome. Moreover, it seeks information irrelevant to

24   Plaintiff Zeleny’s claims, and not reasonably calculated to lead to the discovery of information

25   that is relevant to Plaintiff’s claims.

26         Subject to, and without waiving the foregoing objections, Defendant Becerra responds as

27   follows: N/A.

28         AMENDED RESPONSE TO INTERROGATORY 25:
                                                           9
     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 1         Becerra has not made this contention. However, to the extent that he had, in response to

 2   interrogatory 23, Becerra has explained his understanding of the statute in the context of this

 3   particular case.

 4         SECOND AMENDED RESPONSE TO INTERROGATORY NO. 25:

 5         To the extent that Defendant Becerra has made the contention “that the definition of

 6   ‘authorized participant’ under Penal Code §§ 26375 and 26405(r) refers to a person with an

 7   ‘entertainment firearms permit’ issued pursuant to Penal Code § 29500, in response to

 8   interrogatory 23, Becerra has explained his understanding of the statute in the context of this

 9   particular case.

10

11   Dated: October 23, 2020                                   Respectfully submitted,
12                                                             XAVIER BECERRA
                                                               Attorney General of California
13                                                             ANTHONY R. HAKL
                                                               Supervising Deputy Attorney General
14

15
                                                               /s/ John W. Killeen
16                                                             NOREEN P. SKELLY
                                                               Deputy Attorney General
17                                                             JOHN W. KILLEEN
                                                               Deputy Attorney General
18                                                             Attorneys for Defendant Attorney General
                                                               Xavier Becerra
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     Defendant Xavier Becerra’s Second Amended Responses to Plaintiff’s Interrogatories, Set Two (3:17-cv-07357 RS)
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 5 Attorneys for Plaintiff
   Michael Zeleny
 6
 7
 8
 9                            UNITED STATES DISTRICT COURT

10                           NORTHERN DISTRICT OF CALIFORNIA

11 MICHAEL ZELENY,                          Case No. CV 17-7357 RS
12        Plaintiff,                        Assigned to:
                                            The Honorable Richard G. Seeborg
13                 vs.
                                            EXPERT DECLARATION OF
14 GAVIN NEWSOM, et al.,                    MICHAEL TRISTANO
15        Defendants.
                                            Action Filed: December 28, 2017
16                                          Trial Date:   None Set
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 1          I, Michael Tristano, declare as follows:

 2          1.     I have been retained by Affeld Grivakes LLP on behalf of Michael Zeleny, as an

 3 expert in the above-referenced litigation.
 4          2.     As an independent expert, I have been asked to give my opinion on the issue of

 5 permitting for film, television, and other video projects, and, specifically, the permitting and use of
 6 firearms on such projects.
 7          3.     For my work on this case, I am being compensated at a rate of $500 per hour, plus

 8 expenses. I have not received and will not receive any other compensation related to this case. No
 9 part of my compensation depends on the outcome of this case.
10
11 PROFESSIONAL BACKGROUND AND EXPERIENCE
12          4.     I have been a professional Armorer and Special Effects Technician for more than 30

13 years. I have worked on more than 500 feature films, television shows and video projects, most of
14 which are listed on the Internet Movie Database (imdb.com). These projects include: 3:10 to
15 Yuma, The Purge, Medal of Honor, I Am Still Here, and Enron: The Smartest Guys in the Room.
16          5.     Most of my work is done in the State of California, and my licenses and permits to

17 do this work include:
18                 1)      A California DOJ Entertainment Firearms Permit;

19                 2)      A Federal Firearms License (FFL);

20                 3)      The four California Dangerous Weapon Permits, which include permits for

21                         assault weapons and .50 caliber weapons, machine guns, short-barrel rifles

22                         and shotguns, and destructive devices; and

23                 4)      The California Certificate of Eligibility.

24          6.     Besides providing on-set armorer services and training of actors, actresses, extras,

25 and stunt people (collectively “Authorized Persons”) for proper and safe use of blank-firing
26 firearms on set, my company also rents and provides non-firing replica and rubber guns.
27          7.     I have also been an on-camera weapons expert on shows for The History Channel,

28 The Discovery Channel and A&E.
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                                          EXPERT DECLARATION
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 1          8.      When I am involved in any project using firearms on the set of a motion picture, TV

 2 show or video project, I advise the production on what firearms I think they should use in their show
 3 and what permitting we will require regarding the use of firearms during the project.
 4          9.      Based on my extensive career as a professional, licensed motion picture and

 5 television Armorer, I believe that I am qualified to address the questions presented to me.
 6
 7 INFORMATION CONSIDERED
 8          10.     In preparing this expert report, I have reviewed the relevant applications and

 9 standards regarding permitting for film, television and video projects in the State of California, and
10 the use of firearms on set.
11          11.     My analysis of the information relevant to this case is ongoing, and I expect to

12 continue receiving information and questions as they are presented to me, and it is possible that new
13 information may affect certain conclusions in this report. I therefore reserve the right to supplement
14 it.
15
16 OPINIONS
17          12.     If called upon to testify, I would explain the following facts and opinions regarding

18 permitting for film, television and video productions, and the inclusion of proper permitting for the
19 use of firearms on these productions.
20          13.     When I am contacted by a production to provide their show with Armorer services

21 and the rental of blank-firing guns, non-firing replicas and rubber guns, I am involved with the
22 production company in the process of obtaining the necessary permits. I always insist that
23 productions get the proper permitting and cover all of the requirements in the specific area and
24 jurisdiction they are filming in.
25          14.     In the State of California, although rules and regulations may vary somewhat from

26 county to county and city to city, the general state policies are the same:
27                  1)     The production must apply for a permit for all of the days and at each

28                         location where the filming will be taking place through the offices in

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 1                 charge of filming in the respective jurisdictions. In Los Angeles, for

 2                 example, permits are applied for and obtained from FilmLA.

 3           2)    If there is going to be blank-firing weapons used and blanks fired, both the

 4                 permit application and the permit must include this information, with a

 5                 description of the type of gunfire (such as single shot, semiautomatic, fully

 6                 automatic, or black powder blanks) and the load size of the blanks (1/4

 7                 load, 1/2 load, or full load) so the proper notifications can be made to the

 8                 surrounding area.

 9           3)    Is the blank gunfire to take place in the interior or exterior of the location?

10                 If there is gunfire in the exterior of the location, or in any area open to the

11                 public view, at least one Police Officer is usually required to be assigned to

12                 the location by the permitting office. A Fire Marshall or FSO (Fire Safety

13                 Officer) may also be assigned by the permitting office if the location is

14                 located in a fire zone, or if there are possible flammable elements at the

15                 location.

16           4)    If there is no blank gunfire, but replica or rubber guns are brandished in an

17                 exterior part of the location, or an area open to view by the public, this

18                 must also be on the permit application and the permit and a Police Officer

19                 will still be assigned to the location to deal with civilians to make sure

20                 everyone knows this is not an active shooter situation.

21           5)    Whenever any real or blank-firing firearms are present on a set, a licensed

22                 Armorer must be present to handle blank-firing weapons and a licensed

23                 Prop Master for non-firing replica guns and rubbers. This is so proper

24                 safety protocols are always followed.

25           6)    Permitting offices do not inquire about the names or identities of the

26                 Authorized Participants using the weapons, as such information is neither

27                 necessary nor relevant for the permitting process. In fact, when the permit

28                 applications are being prepared, submitted, and considered, often times the

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 1                        specific names and identities of the Authorized Participants are not known

 2                        or finalized. In particular, the names and identities of extras serving as

 J                        Authorized Participants may well not be known until the actual day of the

 4                        shoot and can change throughout the day in the director's discretion. In my

 5                        experience, during the permitting process, I have never been asked to

 6                        provide, and have not provided, the names and identities of the anticipated

 7                        Authorized Participants to any permitting offrce or agency.

 8                7)      In contrast to the permitting offices and agencies, licensed Armorers are

 9                        required to ensure that none of the AuthoraedParticipants using the real

10                        and/or blank-firing weapons is a felon or a person prohibited from possessing

11                        a firearm. Such "prohibited persons" may use replica or rubber weapons only.

t2                8)      While any blank-firing, replica or rubber weapons are on set, they remain in

13                        the charge of the Armorer and/or Prop Master, until they are needed to be

l4                        placed in the hands of the Authorized Participants and./or on the set. After the

15                        shots are completed, the firearms are taken back and remain in the charge of

t6                        the Armorer andlor Prop Master.

t7
18         I declare under penalty of pefury under the laws of the United States that the foregoing is

I9 true and correct. Executed October 9, 2020 at Los Angeles,
20

2t                                               Declarant
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 5 Attorneys for Plaintiff
   Michael Zeleny
 6
 7
 8
 9 UNITED STATES DISTRICT COURT
10 NORTHERN DISTRICT OF CALIFORNIA
11 MICHAEL ZELENY,                          Case No. CV 17-7357 RS
12        Plaintiff,                        Assigned to:
                                            The Honorable Richard G. Seeborg
13                 vs.
                                            EXPERT DECLARATION OF GREG
14 GAVIN NEWSOM, et al.,                    BLOCK
15        Defendants.
                                            Action Filed: December 28, 2017
16                                          Trial Date: None Set
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                                    EXPERT DECLARATION
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 1                 I, Greg Block, declare as follows:

 2         1.      I, Greg Block, have been retained by the law firm Affeld Grivakes LLP, on behalf

 3 of Michael Zeleny, as an expert in this litigation.
 4         2.      For my work in this case, I am being compensated at the hourly expert rate of

 5 $250.00 per hour, plus expenses. I receive no other form of compensation related to this case. No
 6 part of my compensation depends upon the outcome of this case.
 7 Professional Background.
 8         3.      Since 1983, I have been a law enforcement instructor. I teach City, County, State

 9 and Federal Agencies, plus the Military in Use of Force and Firearms.
10         4.      I have over 100 instructor credentials, from the NRA Law Enforcement side, the

11 NRA Civilian side, the Federal Department of Justice, California Department of Justice, the FBI,
12 and ATF.
13         5.      Over 45 firearms manufacturers have certified me to teach their weapons systems

14 to Law Enforcement.
15         6.      Several state agencies have also certified me: CA-POST which stands for Peace

16 Officer Standards and Training, the other agency is STC, Standards and Training for
17 Corrections. CA-POST oversees sworn law enforcement and STC oversees Probation,
18 Corrections, Prisoner Transport and Bailiffs.
19         7.      I am both a certified instructor and certified presenter for both CA-POST and

20 STC, and I am authorized to provide training for them. With STC I am the only non-government
21 affiliated individual to have this distinction. With CA-POST who has over 700 presenters, all but
22 three are the agencies themselves, Police Departments, Sheriff’s Office, State Investigative
23 Agencies and County Investigative Agencies. The other two entrepreneurs are law firms that
24 teach officers how to testify in court. There are 58 counties in California. Since 1999, I have
25 been CA-POST’s Use Of Force instructor in 36 of those counties.
26         8.      With CA-POST, I am also a “SME”, which stands for Subject Matter Expert. I

27 deal with the Learning Domains (“LD”) in the police academy. I am an SME for twelve of the
28 forty-eight LDs taught in the Basic Police academy, including Use of Force, Firearms, Chemical
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 1 Agents, Electronic Weapons, Impact Weapons, Impact Weapons, Defensive Tactics, Projectile
 2 Less Lethal Weapons, Force Option Simulator, Tactical Firearms, Dangerous Weapons Laws,
 3 Crowd Control, Vehicle Operations and Patrol Operations. As needed, as the California Penal
 4 Code is amended and additional court decisions are rendered, SME’s will work together to
 5 update the LDs. The revised LDs are then sent to CA-POST in Sacramento and distributed to the
 6 39 Police Academies throughout California. LD 40 is the Dangerous Weapons Law for Law
 7 Enforcement, which represents California’s gun laws.
 8         9.     In January 1999, a new Carry Concealed Weapon (“CCW”), law went into effect

 9 in California. It was Assembly Bill (AB) 2022, also called the Wright CCW Bill. It took
10 California from a 1-year CCW to a 2-year CCW, plus it changed the residency requirements
11 needed to apply for a CCW. It also mandated training every two years; a minimum of 4 hours for
12 renewal, and a maximum of 16 hours for first time applicants. I was asked by the Orange County
13 Sheriff to be a part of a group, which included Captain Gage, the head of Professional Standards
14 Division (PSD), which oversees the CCW Licensing Bureau, Lieutenant Hogbin, the head of the
15 CCW Licensing Bureau, to create Orange Counties policies and procedures for the new
16 California CCW law. Those policies and procedures were widely recognized and approved and I
17 presented them to all 58 California County Sheriffs. In June of 1999, I attended the bi-annual
18 meeting of the California State Sheriffs Association (CSSA) in Sacramento. I made a
19 presentation on these policies and procedures, and they subsequently became the state standard.
20 Information Considered
21         10.    In preparing this expert report, I have reviewed the following material:

22         a.     MPPD Reports_Redacted MP1843-1901

23         b.     CAD Reports MP 5084-5099

24         c.     100929 Police Report – Cooperation w Signage and Noise

25         d.     101004 Police Report – ‘Cooperation’

26         e.     120210 Police Log – Zeleny Cooperative; No

27         f.     120210 Police Report Re Zeleny – Harassment of Supporters

28         g.     120410 Meeting Minutes re Zeleny Used at Legislative Committee
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 1         h.     120524 Critical Reach Info on MZ

 2         i.     100525 Police Report

 3         j.     120613 Log Of Contact with Mr. Zeleny

 4         k.     120620 Log Documenting Mr. Zeleny Cooperation

 5         l.     20628 Incident Report – Zeleny Cooperates

 6         m.     Audio Recording of Police Interaction with Mr. Zeleny

 7         n.     Photographs of Mr. Zeleny’s Belt Holster

 8         o.     Chief Dave Bertini’s Deposition Transcripts

 9         p.     Deputy Jeremy Foy Deposition Transcripts

10         q.     Photos MP5521-5529

11         r.     Mr. Zeleny’s Deposition Transcript

12         s.     Meeting with Michael Zeleny, looking at his setup he was carrying/using at the

13 time. Evaluating it to make sure he was in compliance with California Penal Code.
14         t.     Discussing California Penal Code covering owning, transporting and the carry of

15 firearms with Mr. Zeleny.
16 Mr. Zeleny Demonstrated Exceptional Gun Safety And Knowledge of Applicable Law.
17         11.    Mr. Zeleny showed up at my office with two cases. One case contained a semi-

18 automatic pistol and the other contained a semi automatic rifle. The handgun was unloaded in a
19 locked container per California Penal Code 25610. The actual container was also in compliance
20 with California Penal Code 16850. The rifle was transported in compliance with California Penal
21 Code 25400. A long gun does not need to be locked up; it does need to be unloaded and
22 enclosed in a case, which of course it was. Once he unlocked the handgun container, I inspected
23 both guns to make sure they were both properly unloaded; they were.
24         12.    I spent quite a bit of time talking to Mr. Zeleny about his two firearms, as they are

25 both considered rare. His knowledge about those firearms was exceptional. He demonstrated
26 safe handling and was conscious of the muzzle at all times. His knowledge of firearms laws at
27 the State level and the Federal level was well above average for a gun owner.
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 1 Mr. Zeleny’s Interactions With Law Enforcement Were Respectful.
 2          13.    In reviewing all police reports, I found Mr. Zeleny complied with all orders and

 3 requests given to him by law enforcement. His knowledge of the law far exceeded theirs. In my
 4 experience, Law Enforcement officers do not have extensive training in the proper interpretation
 5 and application of California’s firearms laws. The training they receive is contained in Learning
 6 Domain 40 (“LD 40”). LD 40 is California’s Dangerous Weapon and Control Laws teaching
 7 module. This is a 6-hour segment taught in the Basic Police Academy. There is no required or
 8 mandated training on these laws for the rest of a peace officer’s career. Law Enforcement
 9 officers do not make the decision to arraign or charge individuals with violations of the firearm
10 laws; Deputy District Attorneys make those decisions.
11 In Los Angeles County, A Concealed Weapons Permit Is Nearly Impossible To Obtain And
12 Does Not Represent A Meaningful Avenue For A Resident To Lawfully Possess A Firearm
13 Outside Of His Or Her Home.
14          14.    Currently 41 states are shall issue, constitutional carry, or a combination of both.

15 “Shall issue” means the permit must be issued to the applicant unless he or she is a convicted
16 felon. “Constitutional Carry” means that it is the applicant’s Second Amendment Constitutional
17 right to carry without a permit. California is one of eight “may issue” states. In California, with
18 very limited exceptions, “may issue” means that the issuance of a concealed carry permit is at
19 the sole discretion of the local sheriff in the county where the applicant resides. The local county
20 sheriff has broad discretion whether to issue a CCW or not. In effect, there are 58 counties in the
21 State of California and an equal number of potential interpretations of what constitutes “good
22 cause” for the issuance of a CCW permit. The interpretation of “good cause” is left to the broad
23 discretion of the local county sheriff and is not an objective standard defined in the law.
24          15.    Although there are 58 different potential interpretations, they can be loosely

25 grouped into two categories; (i) a strict interpretation employed in the 12 urban counties; and (ii)
26 a far more broad interpretation employed in the 46 rural counties. Nineteen of the top twenty
27 CCW issuing counties in California are rural counties, where a far more permissive
28 interpretation is used in evaluating a CCW application. In California’s twelve urban counties,
                                                    -5-
                                         EXPERT DECLARATION
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              Exhibit 6
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1                        UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                                   ---O0O---
4    MICHAEL ZELENY,
5           Plaintiff,
6    vs.                            Case No.         CV 17-7357 JCS
7    GAVIN NEWSOM, et al.,
8           Defendants.
     _____________________/
9    Pages 278 - 286 ARE CONFIDENTIAL
10   AND BOUND SEPARATELY
11
12   Pages 310 - 324 ARE CONFIDENTIAL
13   AND BOUND SEPARATELY
14
15     CONTINUED VIDEOTAPED DEPOSITION OF CHIEF DAVE BERTINI
16                           BY VIDEOCONFERENCE
17                   (Volume II - Pages 229 to 534
18
19           Taken before DENISE M. LOMBARDO, CSR No. 5419
20                            RPR, RMR, RDR, CRR
21                               August 7, 2020
22
23
24
25

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1    The time now is 3:06.

2               (Off the record.)

3              THE VIDEOGRAPHER:       Back on the record.

4    The time now is 3:13.

5    BY MR. ROBINSON:                                                     03:13

6         Q.   Chief Bertini, how long have you been in

7    the law enforcement profession?

8         A.   Over 33 years.

9         Q.   Throughout those 33 years, have you dealt

10   with district attorneys the entire time?                             03:13

11        A.   Yes.

12        Q.   Have you consulted with district attorneys

13   for their input about legal matters from time to

14   time?

15        A.   I would say numerous times.                                03:14

16        Q.   In the numerous times that you've

17   communicated with district attorneys or assistant

18   district attorneys about legal matters, have they

19   given you opinions?

20        A.   Yes.                                                       03:14

21        Q.   Based on that experience, looking --

22   considering the e-mail exchange with the district

23   attorney's office that we just looked at, did you

24   form an opinion about or did you form a belief

25   about the district attorney's view of whether the                    03:14

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1    basis for denying it, but it was a concern because

2    the laws had changed, and you could no longer

3    openly carry rifles and handguns in the state of

4    California.

5         Q.   How does the City determine whether                        03:49

6    there's a logical nexus to the event?

7              MR. MASTER:     Objection.        Vague and

8    ambiguous.     Overbroad.     Calls for a legal

9    conclusion.

10             Go ahead.                                                  03:49

11             THE WITNESS:      As I did not author this

12   letter, I don't know.

13   BY MR. ROBINSON:

14        Q.   Does the City have a written or unwritten

15   standard for determining whether there's a logical                   03:49

16   nexus between carrying firearms and the event?

17        A.   No, except that it's illegal to do so.

18        Q.   I don't want to cover ground that we

19   covered last time, but if Mr. Zeleny were given the

20   permit that he was asking for, it would have been                    03:50

21   legal to carry the firearms; correct?

22        A.   Well, that's the question we were trying

23   to get answered through the Department of Justice,

24   the district attorney's office, et cetera.              Because

25   that law is very vague, we were trying to determine                  03:50

                                                                Page 428

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1    whether that's true or not.            And as it stands

2    today, our reading of that exception is, yes, if he

3    was permitted under the -- under the special events

4    or film permit, then he could openly carry weapons.

5         Q.    When did you come to that view, that he                    03:50

6    could openly carry with a permit?

7         A.    After -- after having discussions, again,

8    with the Department of Justice, with the DA's

9    office and the city attorney's office.

10        Q.    Who at the City decides whether there's a                  03:50

11   logical nexus between the carrying of firearms and

12   the event?

13        A.    Again, I did not author that.              I did not

14   say those words, so I don't know what he meant by

15   that.                                                                 03:51

16        Q.    Okay.   Is it the city attorney's call

17   about whether there's a logical nexus?

18        A.    I don't know.

19        Q.    Who at the City determines whether there

20   was a legitimate purpose in carrying the firearm?                     03:51

21        A.    Again, I did not authorize this letter.                I

22   did not say those words.          So I don't have an answer

23   for you.

24        Q.    As a matter of policy at the City of Menlo

25   Park, was Zeleny required to have a logical nexus                     03:51

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1                   REPORTER'S CERTIFICATE
2
3
4           I, DENISE M. LOMBARDO, do hereby certify:
5           That DAVE BERTINI, in the foregoing deposition
6    named, was present by videoconference and by me
7    sworn as a witness in the above-entitled action at
8    the time and place therein specified;
9           That said deposition was taken before me at
10   said time and place, and was taken down in
11   shorthand by me, a Certified Shorthand Reporter of
12   the State of California, and was thereafter
13   transcribed into typewriting, and that the
14   foregoing transcript constitutes a full, true and
15   correct report of said deposition and of the
16   proceedings that took place;
17          And that the aforementioned 306-page
18   transcript meets the California minimum transcript
19   format standards.
20          IN WITNESS WHEREOF, I have hereunder
21   subscribed my hand this 3rd day of September, 2020.
22
23
           <%21353,Signature%>
24         DENISE M. LOMBARDO, CSR No. 5419
25         State of California

                                                               Page 534

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              Exhibit 7
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   1                        UNITED STATES DISTRICT COURT
   2                      NORTHERN DISTRICT OF CALIFORNIA
   3

   4          MICHAEL ZELENY,             ) Case No.
                                          ) CV 17-7357 JCS
   5                    Plaintiff,        )
                                          )
   6          vs.                         )
                                          )
   7         EDMUND G. BROWN, Jr.         )
             et al.,                      )
   8                                      )
                        Defendants.       )
   9        ______________________________)
 10

 11

 12
                                DEPOSITION OF BLAKE GRAHAM
 13
                               Thursday, January 23rd, 2020
 14
                                             ---oOo---
 15

 16

 17

 18

 19

 20

 21

 22           Reported by:
              David A. Disbrow
 23           CSR No. 7768
 24

 25

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   1        Committees for each House basically, they may have a
   2        person or they may suggest you know the Judicial
   3        Counsel's office or something like that.                 That's where
   4        I would start.
   5                 Q    Understood.      Let's go on to topic number
   6        four.
   7                 A    Okay.
   8                 Q    Are you prepared to testify today about topic
   9        number four?
 10                  A    The Attorney General's office to my knowledge
 11         does not provide a legal opinion in general about
 12         concealed carry.         There is a I want to say at least one
 13         lawsuit, the "Peruta" case, that may still be active.
 14         I'm not a part of that, I was not deposed, so there may
 15         be some existing legislation on the matter.                   I'm not
 16         sure if it's completely done as far as the appeals or
 17         you know that type of thing and so I'm probably you
 18         know I guess the best place to tell you that there
 19         could be recent activity on that conceal carry matter.
 20                  Q    Let's backtrack for a second.             I didn't ask
 21         you at the start of the deposition.                What do you do for
 22         a living?
 23                  A    I'm a special agent in charge for the
 24         Department of Justice and then within the Department of
 25         Justice, I work within the Bureau of Firearms.                    To

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   1        extend on that a little bit, I supervise teams of
   2        special agents that disarm prohibitive people.                    We
   3        investigate firearms dealers if there's an allegation
   4        of wrongdoing.        We will monitor gun shows to make sure
   5        that only legal activity is occurring there.
   6                      THE REPORTER:        "To make sure that --"
   7                      THE WITNESS:       -- only legal activity is
   8        occurring at the gun shows.
   9                      THE REPORTER:        Okay.
 10                       THE WITNESS:       And I also have a team of
 11         analysts that prepare regulations that are firearms
 12         related regulations for the Bureau of Firearms and I
 13         have some analysts that help prepare investigative
 14         packages for the agents that again go out and disarm
 15         folks and whatnot.
 16         BY MR. ROBINSON:
 17                  Q    Okay.
 18                  A    I have testified in front of the Legislature
 19         multiple times on various technical matters, assault
 20         weapons and whatnot, things like that.
 21                  Q    Okay.    As part of your role within the
 22         Department of Justice do you enforce the concealed
 23         carry statutes?
 24                  A    Personally, we have made arrests.               For
 25         example, during a gun show investigation we may

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   1        place you would see a gun.               It could be shoved down the
   2        floor, between their feet, some other scenario and I
   3        think that would be in discussion, too.
   4                 Q    All right.
   5                 A    Okay.
   6                 Q    Let's go to the last page of Exhibit Six.
   7                 A    (Witness reviewed document.)
   8                 Q    Do you recognize the section that we're
   9        looking at there; Penal Code Section 26375?
 10                  A    Okay.    Let me review this real quick.
 11                  Q    Sure.
 12                  A    Okay, so I've reviewed that smaller language
 13         on the top half of the page there.
 14                  Q    Okay.
 15                  A    Could you reask the question?
 16                  Q    Well, I just asked you to review it.
 17                  A    Okay, sorry.
 18                  Q    Is this one of the exceptions to the ban on
 19         openly carrying handguns?
 20                  A    Yes.
 21                  Q    In the first clause, maybe it's the second
 22         clause, but it refers to -- let me clarify that.                       So
 23         the section reads, Section 26350, "Does not provide the
 24         or affect the open carrying of an unregistered handgun
 25         by an unauthorized participant," and then it goes on,

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   1        okay?
   2                 A    Yeah, I see that.
   3                 Q    What does "Authorized" mean in that clause
   4        that I just read?
   5                      MS. SKELLY:      Objection; the deponent is not
   6        authorized to interpret the statute which was written
   7        by the Legislature and so he can't answer that
   8        question.
   9                      THE WITNESS:       I'm not aware of this
 10         "Authorized participant" being defined by the
 11         Legislature.       I don't know that it's defined in DOJ
 12         regulations either.
 13         BY MR. ROBINSON:
 14                  Q    Has the Attorney General's office issued an
 15         opinion about what an "Authorized participant" means if
 16         you know?
 17                  A    I don't know that they have issued -- as I
 18         said, this entertainment firearms permit area of the
 19         law is I guess an infinitesimal part of the overall
 20         firearms' scheme in the State and I don't think until
 21         now I've even been asked what that phrase meant.
 22                  Q    Do you have an understanding of what it means
 23         now?
 24                       MS. SKELLY:      Objection; there's no relevance
 25         to the deponent's understanding of what the statute

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   1        means.       The statute -- the document speaks for
   2        itself.       To the extent that any interpretation is
   3        needed it will be done by the Court.
   4                       MS. RAUCH:     Join.
   5        BY MR. ROBINSON:
   6                 Q     You can answer.
   7                 A     I would have to do quite a bit of research
   8        before I could come up with something on this.                    This
   9        kind of a definition when it's not defined by the
 10         Legislature sometimes can be left to the agency but to
 11         my knowledge we've not done regulations which would
 12         somehow clarify that and it's not something I can come
 13         up with at the spur of the moment today.
 14                  Q     Do you know if the DOJ has an official
 15         position on what "Authorized participant" means?
 16                        MS. SKELLY:     Objection; asked and answered.
 17                        THE WITNESS:      Yeah, I think I've probably
 18         said that just now in the last question
 19         BY MR. ROBINSON:
 20                  Q     Why don't you just go ahead and answer it
 21         again.
 22                  A     Okay.
 23                  Q     Does DOJ have an official position on what
 24         "Authorized participant" means in the exemptions?
 25                  A     To my knowledge without -- lacking a

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   1        document.
   2        BY MR. ROBINSON:
   3                 Q    All right.      The Legislative bill analysis
   4        document you're referring to is about a different
   5        statute, right?
   6                 A    Your question dealt with an exemption to
   7        unloaded carry --
   8                 Q    Right.
   9                 A    -- right?      And it deals with entertainment
 10         firearms permits so this document doesn't have the
 11         actual Penal Codes listed out in this document.                    I
 12         assume there's -- this was an attachment or connected
 13         to the actual Codes involved in the bill.                  To me, these
 14         are possible, they're possibly connected.                  Back when
 15         this document was created in 2004 the Penal Codes were
 16         generally in the 12000 series.                In 2012, the
 17         Legislature renumbered all the Penal Codes so as they
 18         sit now, this 26375 that is in, I'm referencing now
 19         from Exhibit Six, that might be what's referenced in
 20         page two farther up in existing law where you see let's
 21         say, 12078, 12072.         The Legislature renumbered
 22         everything so it's possible that they are really the
 23         same thing but I don't have the ability as I sit here
 24         today to be a hundred percent sure but I want to at
 25         least point you in the right direction that really they

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   1                       CERTIFICATE OF DEPOSITION OFFICER
   2

   3                     I, DAVID A. DISBROW, CSR, duly
                authorized to administer oaths pursuant to Section
   4            2093(b) of the California Code of Civil Procedure,
                hereby certifying that the foregoing proceedings
   5            were taken at the time and place therein stated;
                transcribed by means of computer-aided
   6            transcription; that the foregoing is a full,
                complete and true record of said proceedings;
   7                     I further certify that I am not of
                Counsel or attorney for either or any of the
   8            parties in the foregoing deposition and caption
                named, or in any way interested in the outcome of
   9            this cause named in said caption.
 10

 11             _______________                _____________________
                  DATE                           DAVID A. DISBROW
 12                                              C.S.R. NO. 7768
 13

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 1                                      PROOF OF SERVICE
 2        I hereby certify that on January 21, 2021, I electronically filed the foregoing document
   using the Court’s CM/ECF system. I am informed and believe that the CM/ECF system will
 3 send a notice of electronic filing to the interested parties.
 4                                                      s/ Gabrielle Bruckner
                                                        Gabrielle Bruckner
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                 ROBINSON DECL. ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
